 

 

Case 19-10499 Doc 1

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

1 oism'ct of Maryiand

§ Case number (irknown);

foicial Form 101

 

  

Chapter7
E] Chapter 11
U chapter12
El chapter13

Fi|ecl 01/14/19

Chapter you are |i|ing under:

 

1311/rn

¢i‘io);,i%

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ml eck this is an
"`ainended filing

Voluntary Petition for lndividuals Filing for Bankruptcy 12/15

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together-called a
joint case-and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this fonn. On the top of any additional pages, write your name and case number
(if known). Answer every question.

mldentlfy ¥ourself

1. Yourfull name

Write the name that is on your

" government-issued picture
identification (for example,
your driver’s license or
passport).

Bring your picture
identification to your meeting
with the trustee.

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
Michelle
First name First name
Alanna'
Middle name Middle name
Henderson
Last name Last name

Sufix (Sr., Jr,, ll, lll)

Sufiix (Sr., Jr., ll, lll)

 

2. Al| other names you
have used in the last 8

 

 

 

 

 

 

 

 

 

 

 

 

 

(iTiN)

______________...._.____.

§ First name First name

years

include your married or Middle name Middle name

, maiden names.

Last name Last name

First name First name

Middie name Middie name .;

Lasi name Last name

3. only the last 4 digits of

yourSocialSecurity xxx “xx_--L--?_--g-_-L xxx "'Xx"_-~_---_--__~_ §
number or federal oR on §
individual Taxpayer 9 9 ‘
identification number Xx " XX ' XX _ XX "

 

Official Form 101

Voluntary Petition for individuals Fi|ing for Bankruptcy page 1

 

Debtor 1

Michelle Henderson

 

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Case number (irimwn)

 

First Name

Middie Name him Name

 

4. Any business names

"' and Employer

; identification Numbers
(EiN) you have used in
3 the last 8 years

include trade names and
‘ doing business as names

About Debtor 1:

m l:have not used any business names or EiNs.

 

Business name

 

Business name

About Debtor 2 (Spouse Only in a Joint Case):

[J l have not used any business names or Ele.

 

Business name

 

Business name

______________.._____...._

 

§§ §§ _

ElTi __ _ ******* §§ __ _ *******
5. Where you live if Debtor 2 lives at a different address:

6005 Ladd Rd.

 

Number Street

 

Camp Springs MD 20746
city slate ziP cone

Prince Georges County
County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address

 

Number Street

 

 

 

Number Street

 

 

City State ZlP Code

 

County

lf Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

Number Street

 

 

 

P.O. Box P.O. Box
city state ziP code City state ziP code
6. Why you are choosing Check one: Check one:

this district to file for
` bankruptcy

m Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district

n l have another reason. Explain.
(see 28 u.s.c. § 1408.)

 

 

 

 

m Over the last 180 days before tiling this petition,
l have lived in this district longer than in any
other district.

Cl | have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 101

Vo|untary Petition for individuals Filing for Bankruptcy page 2

 

Debtor 1

Case 19-10499 Doc 1

Michelle Henderson
FitstName MiddleName

Fi|eCl 01/14/19 Page 3 Of 91

Case number (rkmvm)
Last Name

Te|l the court About Your Bankruptcy Case

7.

10.

11.

 

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

Do you rent your
residence?

official Form 101

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Forrn 2010)). Aiso, go to the top of page 1 and check the appropriate box.

m Chapter 7
CI Chapter 11
El Chapter 12

U Chapter 13

Cl l will pay the entire fee when l file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashiers check, or money order. if your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

Cl l need to pay the fee in installments lf you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (thcial Form 103A).

q l request that my fee be waived (You may request this option only if you are Hling for Chapter 7.
By law, a judge mayl but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 1033) and file it with your petition.

 

 

E No
n Yes. District When Case number
MM/ DD / YYYY
District When Case number
MM/ DD/YYYY
District When Case number
MM/ DD/¥YYY
m No
n Yes. Debtor Relationship to you
District When Case number, if known
MM/ DD /YYY¥
Debtor Relationship to you
District When Case number, if known
MM l DD / YY¥Y
a No. Go to line 12.
a Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

E] No. eo to line 12.

[:l Yes. Fill out Initial StatementAbout an Eviction JudgmentAgainst You (Forrn 101A) and file it with
this bankruptcy petition.

Voluntary Petition for individuals Filing for Bankruptcy

page 3

 

 

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nebiori Michelle Henderson Casenumbe,(mwm

 

First Name Middle Name Last Name

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor m No_ G° to part 4_
of any full- or part-time
business? a ¥es. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

. h.
alegrporation, partners ip, or Number Smt

 

Name of business, if any

 

if you have more than one
sole proprietorship use a
separate sheet and attach it

 

 

to this petition. City Sme Z|P Code
Check the appropriate box to describe your business:
Cl Health Care Business (as defined in 11 U.S.C. § 101(27A))
El Single Asset Real Estate (as dehned in 11 U.S.C. § 101 (51 B))
El stockbroker (as denned in 11 u.s.c. § 101(53A))
l:l Commodity Broker (as deiined in 11 U.S.C. § 101(6))
n None of the above
13. Are you filing under lf you are hling under Chapter 11, the court must know whether you are a small business debtor so that if
Chapter 11 of the can set appropriate deadlines. if you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, trash-flow statement, and federal income tax return or if
are you a small busin%s any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
r’?
debt° _ _ m No. l am not filing under Chapter11.
For a definition of small
business debt°r» See n No. l am hling under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U-S-C- § 101(51|3)- the Bankruptcy Code.

L_.i Yes. l am hling under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

mann lf You own or Have Any Hazardous Property or Any Property That Needs lmmediate Attention

 

14. Do you own or have any m N°
property that poses or is

 

alleged to pose a threat i:l Yes. What is the hazard?
of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any
property that needs

 

if immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

city stare ziP code

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 4

 

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denton Michelle Henderson casenumbenm.m)

First Name Middie Name L.ast Name

Part 5: Explain Your Effor\s to Receive a Briefing About ¢redlt counseling

 

 

15. Te|i the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you me for
bankruptcy ¥ou must
truthfully check one of the
following choices if you
cannot do so, you are not
eligible to file.

if you tile anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

foicial Form 101

About Debtor 1:

You must check one:

50 l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of com pletion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency

cl l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

ililithin 14 days after you file this bankruptcy petitionl
you MUST tile a copy of the certificate and payment
plan, if any.

n l certify that l asked for credit counseling
services from an approved agencyl but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisiied with your reasons for not receiving a
briefing before you died for bankruptcy

if the court is satished with your reasons, you must
still receive a briehng within 30 days after you tile.
You must file a certificate from the approved
agency. along with a copy of the payment plan you
developed, if any if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited fo a maximum of 15
days.

U l am not required to receive a briefing about
credit counseling because of:

l:l lncapacity. | have a mental illness or a mental
denciency that makes me
incapable of realizing or making
rational decisions about finances

cl Disabiiity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

Cl Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling you must file a
motion for waiver of credit counseling with the court

About Debtor 2 (Spouse Oniy in a Joint Case):

You must check one:

n i received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of com pletion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency

m l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of com pletion.

Within 14 days after you tile this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any

Cl l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you ti|e.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any if you do not do so, your case
may be dismissed

Any extension of the 30~day deadline is granted
only for cause and is limited to a maximum of 15

days.

n l am not required to receive a briefing about
credit counseling because of:

Cl lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

El oisabiiiry. My pnysieai disabiiiiy causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even afterl
reasonably tried to do so.

m Active duty. | am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court

Voluntary Petition for individuals Filing for Bankruptcy page 5

 

 

` l Case 19-10499 Doc 1

Mi@lit l le lloml¢@,q

Flrst Name Middie Name i.ast Name

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Case number (irlmuwn)

 

Ansvlrer These Questions for importing Purposes

 

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 u.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.'

[] No. Go to line 16b,
U Yes. colo line 17.

16. What kind of debts do
you have?

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

a No. Go to line 16c.
lIi ves. colo line 17_

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

 

11. Are you filing under
Chapter 1?

Do ygu estimate that after a Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded and

E.\ No. l am nol ming under chapter 7. co to line 18.

 

 

 

 

 

 

 

any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and m N°
administrative expenses
are paid that funds will be 9 Yes
available for distribution
to unsecured creditors? w
ia. How many creditors do E| 1.49 L`.] 1,000-5,000 El 25,001-50,000
you estimatefhafy°u El 50~99 E.i 5,001-10,000 El 50,001-100,000
°W°? 100-199 Ei 10,001-25,000 ill More than 100,000
Ei 200-999
19. l-low much do you d $0-$50.000 El si,ooo,ooi-sio million l.'.i ssoo,ooo,oor -$1 billion

estimate your assets to
be worth?

E.\ slo,ooo,ool-sso million
Ei ssa,ooo,om-sioo million
Ei $100,000,001-$500 million

Ci sso,ooi-sioo,ooo
Ei sloo,ooi-ssoo,ooo
El ssoo,ooi-$i million

L`.l s1 ,000,000,001~$10 billion
E| slo,ooo,ooo,ooi-sso billion
cl More than $50 billion

 

 

20. How much do you
estimate your liabilities
to be?

mm below

E] $1,000,001-310 million

L`.l $10,000,001-$50 million
EJ $50,000,001_5100 million
Ei $100,000,001-$500 million

ill $o-$so.ooo

El sso,ooi-sioo,ooo
d $100,001-$500,000
El ssoo.ooi-$l million

El $500,000,001-$1 billion

EJ $1,000,000,001-$10 billion
E] 510,000,000,001-$50 billion
n More than $50 billion

 

For you

 

Offlcial Form 101

l have examined this petition, and l declare under penalty of perjury that the information provided is true and

CO|'|'€CL

if l have chosen to file under Chapter 7. l am aware that l may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each chapter, and l choose to proceed

under Chapter 7.

lf no attorney represents me and l did not pay or agree to pay some
this document, l have obtained and read the notice required by 11 U.S.C. §

l request relief in accordance with the chapter of title 11, United States

l understand making a false statement, concealing property, or obta
to $250,000. or imprisonment

with a bankruptcy case can result in ines
18 U.S.C. §§ 152, 1341, 1519, an 3571

    

ining money or prope
for up to 20 years, or both.

one who is not an attorney to help me fill out
342(b).

Code, specified in this petition.

 

 

 

Voluntary Petition for individuals Filing for Bankruptcy

#__________-___

Signature of Debtor 2

Executed on _________________
MM l DD

/YY¥Y

   

page 6

rty by fraud in connection

 

 

_+

Case 19-10499 Doc 1

Debtor 1

First Name Middle Name Last Name

Michelle Hendersgn

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Case number (ifiuiown)

l, tile attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility

For your attorney, if you are
represented by one

to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible.

l also certify that l have delivered to the debtor(s)

the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that l have no

 

 

 

 

 

 

 

 

 

if you are not represented knowledge alter an inquiry that the information in the schedules hied with the petition is incorrect
by an attorney, you do not
need to file this page. x
Date

Signature of Attomey for Debtor MM l DD /YYVY

Printed name

Firrn name

Number Street

City State ZlP Code

Contact phone Email address

Bar number State

     

Offlcial Form 101

 

Voluntary Petition for individuals Filing for Bankruptcy

 

page 7

 

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` . CaSe19-10499 DOC1 Filed O1/14/19 Page 8 Of 91

Debtor 1 Fm~t:t/ belongs £a£f/ Ll'gg?ag§m 0 n Case number <iriinuwm

 

 

     

For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy With°uf an should understand that many people find it extremely difficult to represent
attorney themselves successfully Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attomey.

lf you are represented by
o an attorney, you do not To be successful. you must correctly tile and handle your bankruptcy case. The rules are very

need to me this page_ technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
healing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit lf that happens, you could lose your right to tile another
case, or you may lose protections including the benefit of the automatic stay

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy you must list that debt
in your schedules lf you do not list a debt, the debt may not be discharged lf you do not list
property or properly claim it as exempt, you may not be able to keep the property The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

lf you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attomey. The court will not treat you differently because you are filing for yourself To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedurel and the local rules of the court in which your case is filed. ¥ou must also
be familiar with any state exemption laws that apply

Are you aware that hling for bankruptcy is a serious action with long-term financial and legal
consequences?

cl No
m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

m No
m Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy fom'ls?
g No

m Yes. Name of Person Ther€$a HayWOCd .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (thcial Form 119).

By signing here, l acknowledge that l understand the risks involved in filing without an attomey. l
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property ifl do not properly handle the case.

X

Signatu of Debtor 1 Signature of Debtor 2

Date 2026 Date

_________________-
M /DD l¥YYY MM/ DD/YYYY

Contact phone 024{) 3 5 l 5 ®é 0 Contact phone
Cell phone D? MO 3 5 f 50 é°O , Cell phone
`,, ' l - d mM/Q ai duress

 

 

 

 

 

 

 

   
    

Email address

 

 

thcial Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 8

 

 

_________i

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Fill in this information to identify your case:

mwa Michelle Henderson

guam m 4_

 

   

 

   

 

   

rim Name mdde Name §m _`
Debtor 2
(Spouse, if filing) Flrst Name Middte Name

~ " .- ii f' _; 555 _
United States Bankruptcy Court for the: District of Maryland ` “ ` i"l 2~ t §
‘ f l" l . . .

case number ’ ~ » . ~ § § l j ll Check if this ls an

rif knowni . l ' ,“ "

 

mendel-rilan

Official Form 1068um
Summary of Your Assets and Liabilities and Certain Statistical lnformation 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. lf you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

mummarize Your Assets

Your assets
Value of what you own

1. schedule A/B:Pmperly(ofnclalrenn losAlB)

 

 

 

 

 

 

 

 

 

 

la. copy line 55, Total real estate from schedule A/B .......................................................................................................... $ 0'00
1b. Copy line 62, Total personal property, from Schedule A/B ............................................................................................... $ 1 ,365.00
1c. Copy line 63, Total of all property on Schedule A/B ......................................................................................................... $ 1 ,365_00
mummarize Your Liabillties
Your liabilities
Amount you owe
;; 2. Schedule D: Creditors Who Have Clal'ms Secured by Pmperty (thcial Form 106D) 0 00
za. Copy the total you listed in Column A. Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $ ________-_-l--
3. Schedule E/F: Credl`tors Who Have Unsecured Claims (Official Form 106E/F) 48 303 66
3a Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................ $ ---~l“"'“"°"
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F ....................................... + $ 54’053_77
‘ ¥our total liabilities $ 1 02’357 °43
mfmmadze Your lncome and Expenses
l 4. schedule l; Yourlneome (ofrlclal Form loan 3 390 70
Copy your combined monthly income from line 12 of Schedule l .......................................................................................... $ ___--’--`--
5. Schedule J: Your Expenses (Oflicia| Form 106J)
Copy your monthly expenses from line 220 of Schedule J .................................................................................................... $ _____§§_§§_‘99_

Official Form 1068um Summary of Your Assets and Liabilities and Certain Statistical lnfonnation page 1 of 2

;_____________-_

 

 

 

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Debt°r 1 Michelle Hel'ldel'$On Case number (irknown)
First Name Middie Name Last Name

miner These Questions for Administrative and Statlstlcai Records

l 6. Are you filing for bankruptcy under Chapter's 7, 11, or 13?

cl No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules

m Yes

 

 

 

7. What kind of debt do you have?

w Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose." 11 U.S.C. § 101 (8). Fill out lines 8-99 for statistical purposes 28 U.S.C. § 159.

L_.] Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Offlcial
' Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form122C-1 Line 14. 5 4,461.54

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line 6a.) $ 0'00
9b. Taxes and certain other debts you owe the govemment. (Copy line 6b.) $ 48'303~66
9c. Claims for death or personal injury while you were intoxicated (Copy line 6c.) $___________.___.__-0'00
sd. student loans. (cdpy line ef_) s 0-00
9a. 0bligations arising out of a separation agreement or divorce that you did not report as s O_OO

priority claims. (Copy line 69.) ----_-_~"'-_-
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + 5 0.00
eg. Total. Add lines 9a through 9f. $ 48,303.66

 

 

 

Official Form 106Sum Summary of Vour Assets and Liabilities and Certain Statistical information page 2 of 2

4

 

 

 

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Fill in this information to identify your case and this filing:

rhwa Michelle Henderson
Flrsl Name Mlddle Name

 

D€thr 2
(Sprwse, if filing) Fim Name Middie Name

 

United States Bankruptcy Court for that District of Maryland

Case number

 

[] Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule AlB: Property izno

ln each category, separately list and describe items. List an asset only once. lf an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct information. lf more space is needed, attach a separate sheet to this fonn. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

 

m Describe Each Residence, Bullding, Land, or other Real Estate You own or Have an interest ln

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

m No. Go to Part 2.
n Yes. Where is the propertW

E t ls the property? Check an that apply Do not deduct secured claims or exemptions. Put
n Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

 

 

 

1.1. ._ . . . Creditors Who Have Claims Secured by Pmperfy.
Street address, if availabie, or other description a Duplex er _mum um bu'|d"_}g
n C°“d°m'"'"'“ °r °°°Pe'at“'e Current value of the Current value of the
E] Manufactured or mobile home entire property? portion you own?
n Land $ $
g investment property
. m Timeshare Describe the nature of your ownership
C'ty S'ate Z'P C°de n oth interest (such as fee simple, tenancy by
er the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
Cl Deoiori only
County cl Debtor 2 only l -
[] Debt°" and Debtor 2 only cl Check if this is community property

n At least one of the debtors and another (see mstmct'°ns)

Other information you wish to add about this item, such as local
property identification number:

 

|f you own or have more than one, list here:

l | hat is the property? Check an mat app|y` Do not deduct secured claims or exemptions Put
n Single-family home the amount of any secured claims on Schedule D:

 

 

 

 

 

 

 

1_2- Streef address if available or other description n Duplex or mom-unit building ~ C’ed”ors Who Have Claims Secured by propeny.
' ' a C°ndOminium or OO°P€'H“V€ Current value of the Current value of the

Cl Manufaclured or mobile home entire property? portion you own?
El Land $ $
Cl investment property _ f _

cry else opm 9 T"“es"a'e §§F§§Ii§:§h“§;"r'e°e‘;i§.‘:,`i;,°i`:.'i`§r'§';"§y
n th€' the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
cl Debtorl only

County n Debtor 2 only
El oebior 1 and comer 2 only C] check irinis is community property
m At least one of the debtors and another (See i"SfNCti°nS)

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule AlB: Property page 1

 

 

CaSe19-10499 DOC1 Filed O1/14/19 Page 12 Of 91

 

 

Debtor 1 Michelle Henderson Case number irrili
First Name Middle Name Last Name
What is the Pl'°Pe\’W? Check all that aPP'¥- Do not deduct secured claims or exemptions Put
- - the amount of any secured claims on Schedule D:
1 -3- n Smgle_fam“y home Credr`rore Who Have Claims Secured by Property.

 

Street address. ir availabie, or other description n Dupiex or multi-unit building
cl Condominium or cooperative
El Manufactured or mobile home

Current value of the Current value of the
entire property? portion you own?

 

 

 

 

cl Land $ $
cl investment property
C- State Z|p Code cl T- Describe the nature of your ownership
ny n 'meshare interest (such as fee simple, tenancy by
O"‘e' the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one.
n Debtor1 only

 

 

 

c°“"“' El Debtor 2 only
C| Del>ior1 and Debiorz only cl Che<>_k if fhi§ is Commur\ify property
n At least one of the debtors and another (see 'nstruct'°ns)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ O_()O
you have attached for Part 1. Write that number here. ...................................................................................... 9 "_"‘_“’_°_'°"‘

 

 

 

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. if you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

 

 

n No
w Yes
3.1_ Make: PONT|AC Wh° has an interest in the property? Check One. Do not deduct secured ciaij or exemptions put
the amount of any secured claims on Schedule D:
Modei: 66 m Debt°r 1 °“'y Creditors Who Have Claims Secured by Property.
_ 2007 cl DebiOr 2 Only ' ~
Yea"- ________- n mwa and Debtor 2 only Current value of the Current value of the
~ - . 1 2 0 entire ro ? ortion ou own?
App"°x'mate m"eage~ ~_§;09-_ n At least one of the debtors and another p party p y
Other information:
550.00 550.00
’ l:l Check if this is community property (see $ $
instructions)
if you own or have more than one, describe here:
3.2. Makef Wh° has an interest in the property? Check °"e- Do not deduct secured claims or exemptions Put
n Debtor 1 amy the amount of any secured claims on Schedule D:
Mode|: Credi`tors Who Have Claims Secured by Property.
n Debtor 2 only
Year» ___________ n Debtor 1 and Debi°r 2 only Current value of the Current value of the d
- - . entire ro ? ortion ou own?
Approx'mate m'leage' ----_-- a At least one of the debtors and another p pony p y

Other information:

i
l
l

 

El check ir this is community property (see $
instructions)

 

oinoial Form 106A/B schedule A/B: Properry ' page 2

 

 

 

 

 

Case 19-10499 Doc 1

Michelle Henderson

 

Who has an interest in the property? Check one.

Debtor1
FlrSiName Middle Name
3.3_ Make:
M°de|; El Debtor1 only
Year. Cl Debior 2 only

Approximate mileage:

Other information:

 

 

l
i
l

 

 

3_4_ Makel
Model:
Year:
Approximate mileage:

Other information:

 

i
l
l

 

Cl oel>lor 1 and Debior 2 only
n At least one of the debtors and another

El Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

n Debtor1 only

a Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this is community property (see
instructions)

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Case number (lrkmmn

Do riot deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do net deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

44 Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors personal watercraft, fishing vessels snowmobiies, motorcycle accessories

iZl No
Cl ¥es

4,1_ Make:
Model:

 

 

Year:

 

Other information:

 

 

 

 

if you own or have more than one, list here:

4,2, Make:
Modei:
¥ear:

 

 

 

 

 

 

Who has an interest in the property? Check one.
El Dobior 1 only

\:l Debtor 2 only

El Debtor1 and Debior 2 only

a At least one of the debtors and another

n Check if this is community property (see
insiructions)

Who has an interest in the property? check one.
El Debtor1 only

E] oeblor 2 only

m Debtor1 and Debtor 2 only

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims aecqu by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions Put
the amounth any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

- - . entire ro ? rtion ou own?
Other '"f°rmat'°“' a At least one of the debtors and another p party po y
§
§ n Check if this is community property (see $ $
§ instructional
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages 550_0(]
you have attached for Part 2. Write that number here ........................................................................................................................ 9
Official Form 106A/B Schedule AlB: Property page 3

 

 

 

 

 

Case 19-10499 '
Debtor1 Michelle Henderson DOC 1 F'|ed 01/14/10933(9"\|:“§§]§“”:.1:1 Of 91

miss Your Personal and i-iousehold items

Do you own or have any legal or equitable interest in any of the following items?

 

 

 

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

6_ Household goods and furnishings
Examples: Major appliances fumiture, iinens, china, kitchenware
n No __ , __ ____ ______ _ ____________ ____ ____ _ __ __ _ __
m YSS- Describe --------- household furnishings and appliances s 250-00

7_ Electronics

Examples: Teievisions and radios; audio, video, stereo, and digital equipment computers printers scanners; music
collections; electronic devices including cell phones, cameras, media piayers, games

l;l No _ ,_ _,
m Yes. Describe .......... t Ce"ph ne(S) & television($) $ 100.00

8. Collectibies of value

Examples: Antiques and tigurines; paintings, prints, or other artwork; books, pictures or other art objects;
stamp, coin, or baseball card collections; other collections memorabilia, collectibles

m No __ ___ __
El Yes. Describe.._......_§

 

 

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tablesl golf ciubs, skis; canoes
and kayaks; carpentry tools; musical instruments
m No ___________ __ ______ , _____ __ __ _
Cl Yes. Describe...._._.._;i

l _$____________.___

 

 

 

10_Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
m No _ __________
L_.l ¥es. Describe ..........

 

 

 

 

11.C|othes ~
Examples: Everyday clothes furs, leather coatsl designer wear, shoes, accessories
cl No _________
m YeS- Describe ---------- Womens and child(ren) clothing, shoes, coats jackets etc. $ 375-00

 

 

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches gems,
gold, silver

n N° ___________.…___,l____v_,_., .. ___ … ___ _ .__ ___ ___ .,…, l _ ___ ,__.~ __…_.. ____ ,. _ … n __ _, _…… _._,
m Yes. Describe ....... $ 90.00

  

Watch&cosmetlclewelry __ _ _ _ _

13. Non-farm animals
Examples: Dogs, cats, birds, horses

m No _______
E] Yes. Describe ..........

 

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list

m No
n Yes. Give specific
information.

 

 

15. Add the dollar value of all of your entries from art 3, including any entries for pages you have attached s 815_00
for Part 3. Write that number here .................................................................................................................................................... 9

 

 

 

Offlcial Form 106NB Schedule AlB: Property page 4

'4_4_

 

 

 

CGS€ 19-10499 D 1 `
Debtor1 Michelle Henderson OC F'|ed 01/14/10?8€ m!:r’n§eg;.](?kljmi:) of 91

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current Va|ue 0f the
portion you own?
Do not deduct secured claims
or exemptions
16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
m No
n Yes .............................................................................. Cash _____________________ $
17. Deposits of money
Examples: Checking, savings, or other inancia| accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions lf you have multiple accounts with the same institution, list each.
No
n Yes ..................... institution name:
17.1_ Checking account $
17.2_ Checking account $
17.3. Savings account: $
17_4. Savings account $
17.5_ Certilicates of deposit $
17.6. Other tinancial account $
17.7. Other financial account $
17.8. Other inancial account $
17_9_ Other tinancial account $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage tirms, money market accounts
m No
l:l ¥es ................. lnstitution or issuer name:
$
$_______________
19. Non-pub|ic|y traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
m No Name of entity: % of ownership:
n Yes. Give specitic O% % 5
Information about 0°/ "'_""_’_°_°“‘
them ......................... ° %
0% %

 

Otficial Form 106A/B Schedule AlB: Property page 5

 

_i_-__~i

_ Case 19-10499 DOC1 Filed 01/14/19 Page 16 of 91
Debtor1 Michelle Henderson Case number <if'm<>w">
FrrstName MiddieName LMName

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory nctes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

mNo

l:l ¥es_ Give specih¢ issuer name:
information about
them ....................... $

 

 

 

21_ Retirement or pension accounts
Examples: interests in lRA, ER|SA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or pmm-sharing plans

mNo

n Yes. List each
account separate|y. Type of account lnstituticn name:

401 (k) or similar plan:

 

Pension plan:

 

lRA:

 

Keogh:

 

Additional account

 

$________.._....

$

$

Retiremem accoum: $
$_______________._.

$

$

Addilional account

 

22_ Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies or others

 

 

 

 

 

 

 

 

 

 

 

 

m No
n Yes .......................... lnstitution name or individual:
Electric: $
Gas: $
Heating oil; $
Secur'rly deposit on rental unit: $
Prepaid rent $
Telephone: $
Water: $
Rented furniture: $
Other: $
y 23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
m No
n ¥es .......................... lssuer name and descriptions
$____________..__.
$

 

Ofticiat Form 106A/B Schedule AlB: Property page 6

 

 

 

 

 

Case 19-1049 '
Debtor1 Michelle Henderson 9 DOC 1 F||ed 01/14/1093$€"§|:“€€9§$”1”7” Of 91

rrst Name Middle Name Last Name

 

 

~ 24_ interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

mNo

m Yes """"""""""""""""""" institution name and description Separately file the records of any interesfs.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

m No
a Yes. Give specific

 

 

 

information about them..._?; $
26. Pafente, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lnternet domain names, websites, proceeds from royalties and licensing agreements
m No .,_,,,___ _. .,`__.,__ …,.M_ _ …,…__._… ,_,.__ __..~ ,,_,_. .…r__, _ __, _, ,,_s_,. ____ .._. _….. _.,_~,_,,,_ c,___,.__., ,…,__ ,., .__s,
a Yes. Give specific §
information about them....§ $
27. Licenses, franchisesl and other general intangibles
Examples: Buiiding permits, exclusive licenses, cooperative association holdingsl liquor licenses, professional licenses
21 N<>
L:l Yes. Give specinc § §
information about them.._.j $
Money or property owed to you? Current value of the
portion you own?
Do not deduct secured

claims or exemptions

za.Tax refunds owed to you

 

m No w y § § y §

Cl Yes. Give specific information y _
about them, including whether § Federa" $--__"'_"_‘
you already filed the returns ' States
and the tax years. ................. Loca|_

 

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement property settlement

m No
n Yes. Give specific information ..............

 

Alimony; $
§ Maintenance: $
` Support: $
Divorce settlement $____,_______
Property settlements $_____________.__

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
m No

n Yes. Give specific information ...............

Ofncia| Form 106A/B Schedule AlB: Property page 7

_i_

Case 19-10499 Doc 1 '
Deb,o,1 Michelle Henderson F'|ed 01/14/102§ ml:“§e§;]$hl§ Of 91

 

31. interests in insurance policies
Examples: Hea`lth, disability, or life insurance; health savings account (HSA); credit, homeowners or rentei’s insurance

mNo

cl Yes' Name me i'_‘$ura"°e_ °?mpa"y Company name: Beneliciary: Surrender or refund value:
of each policy and list its value.

 

 

 

32. Any interest in property that is due you from someone who has died

lf you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died_

mN° ___…M__W_W____WM_…_…____WW…W_ ___
cl Yes. Give speciic information .............. § §

33. Claims against third parties whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

mNo

n Yes. Describe each claim. ....................

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights

 

 

 

 

 

 

 

to set off claims
EN° ___ _ _
m Yes. Describe each claim. ...................
v § w § m 7 $
35_Any financial assets you did not already list
m ¥es. Give specific information ............ s
36_ Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here .................................................................................................................................................... ') $ 0'00

 

 

 

mbescribe Any Business-Related Property You own or Have an lnterest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
m No. Go to Part 6.
m Yes. Go to line 38.

 

 

Current value of the
portion you own?
Do not deduct secured claims
or exemptions
38_Accounts receivable or commissions you already earned
m~v __ _ _ ,____W_ __…______
n ¥es. Describe.......§ §
z :$__.________--

 

39. office equipment, fumishings, and supplies
Examples: Business-related computers, sonware, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
mN° __
n Yes. Describe.......§

 

Officia| Form 106A/B Schedule AlB: Property page 8

 

 

 

 

 

_ C38619-10499 D001 Fl|€d 01/14/19 PGQG 19 Of 91
Debtor1 M'che"e Henderson Case number (immn)

 

 

40. Machinery, fixtures equipment, supplies you use in business, and tools of your trade

mNo

i;l Yes. Describe....._

 

  

 

41 . inventory

E] Yes. Describe _______

 

42. interests in partnerships or joint ventures

g No

L_'l Yes' Describe ''''' Name of entity: % of ownership:
% 3
%
%

 

43. Customer iists, mailing lists, or other compilations

a No

cl Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
n No w.,c,,._ M.,N,./~,§_.,‘»,. s _
a Yes. Describe...._...§

44_Any business-related property you did not already list
m No

cl Yes. Give specific
information .........

 

 

 

 

 

 

 

45. Add the dollar value of all of your entries from Fart 5, including any entries for pages you have attached $ 0_0()
for Part 5. Write that number here .................................................................................................................................................... 9

 

 

 

 

Describe Any Farrn- and Commerciai Fishing-Reiated Property ¥ou own or Have an interest in.
if you own or have an interest in farmiand, list it in Part 1.

 

46_ Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
m No. Go to Part 7.
El Ves. Go to line 47.
Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

47. Farm animals
Examples: Livestock, poultry, farm-raised fish
a No
n Yes _ __ __ _ ,

Ofncia| Form 106A/B Schedule AlB: Property page 9

 

 

C 1 _ -
Debtor1 Michelle Henrierso,?$e 910499 DOCi Flled 01/14/1£§§€"5“§.€§9§3"2 Of91

 

 

4a Crops-either growing or harvested

\;l Yes. Give specific .
information ............ $

 

49 Farln and fishing equipment, implements machinery, fixtures and tools of trade
E No
13 Yes ..........................

' so_ Fann and fishing supplies chemicals and reed

m No
n Yes ..........................

51.Any farm- and commercial fishing-related property you did not almady list

mNo

 

 

 

 

n Yes GNe Specmc , __ ______ __ ____ _ _ _ __ §
information ._. § $
52 Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0_00
rcr Pari 6. write that number here ____________________________________________________________________________________________________________________________________________________ -)

 

 

 

Describe All Property You 0wn or Have an interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Seascn tickets country club membership

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m No :.…,…_ ._____ _,_¢__W _._,_._… _ _. ._,..…,,__ __ __ _… ,,,___,__._,e_…_,__ __"__ …._ _,,._..___,__._ _c ______ _ .……_ _ _,_._…._,___ ____ … _ ___:
n Yes. Give specific:§ $
information ............ § $
2 s
54.Add the dollar value of all of your entries from Part 7. Write that number here _________________________________________________________________ 9 $ 0'00
List the Totais of Each Fart of this Form
55.Part1:Total mal estate, line 2 ................................................................................................................................... 9 $ 0'00
56_ Pan 2: reel vehicles line 5 s 550-00
57_ Part 3: Total personal and household items, line 15 $ 815‘00
58. Part 4: Total financial assets line 36 $ O'OO
59_ Pari 5: Total business-relan prcperty, line 45 s 0-00
' 60. Part 6: Total farm- and fishing-related property, line 52 $ 0'00
61. Part 7: Total other property not listed, line 54 + $ O~OO
62. Total personal property. Add lines 56 through 61 . .................... $ 1'365'00 §Copy personal property total 9 + $ 1,365-00
ea.Tcial cf all property on schedule AlB. Add line 55 + line 62 __________________________________________________________________________________________ $ 1365-00

 

 

 

 

Officiai Form 106A/B Schedule AlB: Property page 10

 

 

 

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Fill iii this information to identify your case:

Debtor1 Michelle Henderson
Firsl Name Middle Name Last Name

 

Debfol` 2
(Spouse, iffiling) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: Distrin Of Maryland

 

c:se number Cl Check if this is an
‘ ""°“’“) amended filing

 

Official Form 1060
Schedule C: The Property You Claim as Exempt lens

Be as complete and accurate as possib|e_ if two married people are liling together, both are equally responsible for supplying correct information

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. if more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top cf any additional pages, write
your name and case number (if known).

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Altematively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount

mdentify the Property You Claim as Exempt

 

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

d You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
m You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Speciflc laws that allow exemption

 

 

 

 

 

 

Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption
Schedule A/B
dB::¢f:ription: Mg-w-m§h-ng-i $ 250-00 m $ COUrfS & Jud. Proceedings
Line from m 100% of fair market value, up to 1 1`504(b)(4)
Schedule A/B: 6 any applicable statutory limit
::;f,,iption; _E|§_CILQDDL s 100.00 C| 3 Courts & Jud. Proceedings
Line from 1 m 100% of fair market value, up to 1 1°504(b)(4)
Schedule A/B; any applicable statutory limit
§;‘§;npti°n_ clothes $ 375.00 n $ courts & Jud. Prcceedinge
Line from m 100% of fair market value, up to 1 1’504(b)(4)
Schedule A/B; _1_1___ any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $155,675?
(Sub]ect to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)

MNo

n Yes. Did you acquire the property covered by the exemption within 1,215 days before you tiled this case?

[;l No
n Yes

Ochia| Form 1060 Schedule C: The Property You Claim as Exempt page 1 of _

 

 

 

Case19-10499 DOC1 Filed 01/14/19 Page 22 Of 91

Debtor1 Michelle Henderson Case number (im»m)
Flrst Name Mlldle Name Lasl Name

mddulonal Page

 

 

 

Brief description of the property and line Current value of ti\e Amount of the exemption you claim Specific laws that allow exemption
on Schedule A/B that lists this property portion you own

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B.'

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Officia| Form 1060

Jewelrv
1 2

lehicle
3.1

Copy the value from Check only one box for each exemption
Schedule A/B

$ 90_00 m $ Courts & Jud. Proceedings
_ 1 1-504(b)(4)
q 100% of fair market value, up to
any applicable statutory limit

 

Md. Code Ann., [Cts. & Jud.

$ 550.00 l;l s proc_]L11-504(b)(5).(f)

a 100% of fair market value, up to
any applicable statutory limit

 

$ El$

EI 100% of fair market value, up to
any applicable statutory limit

 

$ Cl$

n 100% of fair market value, up to
any applicable statutory limit

 

s D$

n 100% of fair market value, up to
any applicable statutory limit

 

s Els

Cl 100% or fair market value, up to
any applicable statutory limit

 

$ El$

n 100% of fair market value, up to
any applicable statutory limit

 

$ Cl$

n 100% of fair market value, up to
any applicable statutory limit

 

$ U$

El 100% affair market value, up to
any applicable statutory limit

 

s ills

m 100% of fair market value, up to
any applicable statutory limit

 

s El$

n 100% affair market value, up to
any applicable statutory limit

 

$ El$

El 100% of fair market value, up to
any applicable statutory limit

 

Schedule C: The Property You Claim as Exempt page _2___ of__

 

 

 

CaSe19-10499 DOC1 Filed O1/14/19 Page 23 Of 91

Fill in this information to identify your case:

Michelle Henderson

Frrsl Name

Debtor 1

 

Midd|e Name

Debtor 2
(Spouse, iffiling) Frrst Name

 

Middle Name Last Name

United States Bankruptcy Court for the: Distrin Of Maryland

 

 

 

 

(l:l?ks§e'v`,`r‘r§“be' El check lflhis is an
amended filing

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property 12115

 

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
g No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.

n Yes. Fill in all of the information below.

m usi All secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EJ Deblor 1 only

0 Debtor 2 only

n Debtor 1 and Debtor 2 only

n At least one of the debtors and another

El cheek rr this claim relates to a
community debt

7 Date debt was incurred

Official Form 106D

 

Nature of lien. Check all that app|y.

n An agreement you made (such as mortgage or secured
car loan)

m Stalutory lien (such as tax lien, mechanic’s lien)

m Judgment lien from a lawsuit

l;l other (rncluding a right lo eirsel)

Last4 digits of account number____ ___ ___ __

Add the dollar value cl your entries in Column A on this page. Write that number here: k___________ l

Schedule D: Creditors Who Have Claims Secured by Property

, _ columnA * ' cemth ,' ",‘celumnc “
, 2. List all secured claims. lf a creditor has more than one secured claim, list the creditor separately amount of ¢mm y value of conmm unsecured
for each claim. lf more than one creditor has a particular claim, list the other creditors in Part 2. 00 mdqu me` y msuppbg§ mrs powdnr ~ '~
As much as possible, list the claims in alphabetin order according to the creditor’s name. mined mm`a; claim , t j_ z y lf*a“y`_` ` i
21 Describe the property that secures the claim: $ $ $
` creditors Name j
Number street
As of the date you file, the claim is: Check all that apply. ;
n Contingent
a Unliquidated
cily state zlP code m Disputed j
Who owes the debt? Check one. Natur¢ of |ien_ check all trial apply_
l n Deb\°r 1 0an cl An agreement you made (such as mortgage or secured
f El Debtor 2 only car loan)
L‘_| Debtor1 and Debtor 2 only a Statutory lien (such as tax lien, mechanic’s lien)
n At least one of the debtors and another n Judgmenf lien from a lawsuit
Cl other (incruding a right lo orrser)
El cheek ir this claim relates le a
community debt
` k Date debt was incurred Last 4 digits of account number ___ __ ___ ____
\-_12'2 Describe the property that secures the clalm: $ $ $ ’
Creditofs Name
Number Sireet
As of the date you file, the claim is: Check all that apply.
cl Contingent
El unliquidated
city stale zlP code n Disputed
Who owes the debt? Check one.

page 1 of J__

Page 24 of 91

Fill ill this information to identify your Case:

Michelle Henderson

First Name

Debtor 1

 

Middle Name

Debtor 2
(Spouse, if filing) Firsl Name

 

Middle Name

united States Bankruptcy Court for ther District of Maryland

El Check lflhis is an

Case number amended filing

(if known)

Official Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims 12115

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NONPRlOR|TY claims.
List the other party to any executory contracts or unexpired leases that could result in a c|alm. Also list executory contracts on Schedule
A/B: Property (Official Form 106AlB) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, till it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

 

 

List All of Your PR|°R|TV Unsecured Claims

 

 

1. Do any creditors have priority unsecured claims against you?

Cl No. co lo Parl 2.

w Ves.

a 2. List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. if a claim has both priority and nonpriority amounts, list that claim here and show both priority and

nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditors name. If you have more than two priority
unsecured claims, till out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

reel claim , Priority y
* w ` , amounty ~,a,mo`unt l d
2" 7 (0 0 / ~`
DC TreaSUrer Last4 digits ofaccount number ___ __ ___ __ $__G.Q..QQ $___S_O..QQ $_.._.____Q._QQ;
Priority Creditor's Name _
PO BOX 2014 When was the debt incurred?
Number sheet
W h_ t DC 20013 As of the date you file, the claim is: Check all that apply.
as m On .
city g slate zlP code m C°'“'"ge"'
|Il unliquidated
Who incurred the debt? Check one. n Disputed

U Debtor 1 only

El Deororz only

C| Debior 1 and Deolor 2 only

El At least one oflhe debtors and another

Ei check il this claim is ror a community debt

Type of PR|OR|TY unsecured claim:

a Domestic support obligations

a Taxes and certain other debts you owe the government
n Claims for death or personal injury while you were

 

ls the claim subject to offset? intoxicated
No D orher. specify
n ¥es

' Nonpriority

 

 

~2 1 DC Treasurer
` Priority Craditor‘s Name

 

 

 

Last 4 digits of account number jff_`z 3

60.00 s 60.00 $

PO Box 2014 when was chc door incurred?
Number Street
As of the date you flie, the claim is: Check all that apply.
Washington DC 20013 n Contingent
Ci*y Slale ZlP Code L__l Un|iqu;dated
Who incurred the debt? Check one. n DiSl>uied

q Debtor 1 only

cl Debtor 2 only

cl Debtor1 and Debtor 2 only

u At least one of the debtors and another

n Check if this claim is for a community debt

Type of PR|0R|TY unsecured claim:

cl Domestic support obligations

d Taxes and certain other debts you owe the government
o Claims ior death or personal injury while you were

 

intoxicated
rs the claim subject to onser? El olner. specify
w No
,, 9 Y<zs, , ,_

thcia| Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page 1 of___

0.00?

Michelle Hender€@~§e 19-10499 DOC 1 Filed O1/14/1Qase§’u§tge("gh§m0f 91

Your PR|°R|TY Unsecured Claims - Contlnuatlon Page

Debtor 1

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total claim ,Friferity g ~ y Nonpriority `i

 

:] DC Treasurer

 

 

 

 

amount \ amount

uel..ll,,eem.,.........mbe. fill f s 200.00 s 200-00 s

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

 

 

 

 

 

Who incurred the debt? Check one.

d Debtor1 only

a Debtor 2 only

a Debtor1 and Debtor 2 only

a At least one of the debtors and another

CI Check if this claim is for a community debt

is the claim subject to offset?

q No
Cl Yes

Schedule EIF: Creditors Who Have Unsecured Claims

 

0.00 d

Priority Creditor’s Name
PO Box 2014 When was the debt incurred?
Number street

As of the date you file, the claim is: Check all that apply.
Wasningion Dc 20013 El conlingeni
ciiy sure ziP code U unliquidated

El niepuied
Who incurred the debt? Check one.
g Debtor1 only Type of PR|OR|TY unsecured claim:
g :e:tor: onzo m 2 n Domestic support obligations
cl Ate|eto't an f;e;r b;n'y d th Taxes and certain other debts you owe the government

as one o e rs an an° er n Claims for death or personal injury while you were

n Check if this claim is for a community debt 'm°xmted

a Other. Specify
ls the claim subject to offset?
q No
n ¥es
Dc Treasurer ’7 7 9/ 100 00 y 100 00 0 00 z

Last4 digits of account number _____ ___ ____ ____ $ ' 3 ' $ ‘ `
Priority Creditor's Name ’
PO BOX 2014 When was the debt Incurred?
Number Street

As of the date you fiie, the claim is: Check all that apply.
Washington DC 20013 El Contingent
ciiy slate ziP code 0 Unliquidated

E] Disputed
Who incurred the debt? Check one.
g Debtor 1 only Type of PR|OR|TY unsecured claim:
m Debt°r 2 only n Domestic support obligations
Ei Debtor1 and oebior 2 only .

Taxes and certain other debts you owe the government
n At least one of the debtors and another n _ . . .
Claims for death or personal injury while you were

m Check if this claim is for a community debt ’"t°x‘°ated

E] omer. specify
ls the claim subject to offset?
U No

7 a Yes 7 7

Dc Treasurer mt 4 mm of account numbe, j_/ _Z_Q c 200.00 c 200.00 c 0.00
Priority Creditors Name
PO Box 2014 When was the debt lncurred?
Number Street

As of the date you file, the claim is: Check all that app|y.
Washingion DC 20013 121 contingent
ciiy stale ziP code Cl unliquidated

El Dispuied

Type of PR|OR|TY unsecured claim:

El Domestic support obligations
Taxes and certain other debts you owe the government

n Claims for death or personal injury while you were
intoxicated

CI omer. specify

 

 

page _ of

 

 

Debtor 1

Flrst Name Middle Name

Michelle Hender€éi§€ 19-10499 DOC 1

Last Name

Flled 01/14/1Qaseguege(,,g§m)of 91

m ¥our PR|GR|TY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

 

 

 

 

 

t imitationny `i
amount

total omni enemy
Im,°ul“ t

 

 

 

 

 

 

 

 

 

 

 

 

|:: DC Treasurer Last‘ digits of account number l j __@ f $ 100.00 $ 100.00 $ 0.00
~ Priority Creditors Name ,
PO Box 2014 DC 20013° When was the debt incurred?
Number street
As of the date you tiie. the claim is: Check all that apply.
Waehington Dc 20013 Cl Contingent
any state zlP code Cl Unliquidated
Ci Disputed
Who incurred the debt? Check one.
g Debtor1 only Type of PR|OR|TY unsecured claim:
§ :::tt:r z mfg Debt 2 t m Domestic support obligations
n At| rt a fm ‘;r won y d m Taxes and certain other debts you owe the government
eas one o e e ors an am er n Claims for death or personal injury while you were
El cheek if this claim is for a community debt '"‘°X'“ted
n Other. Specify
ls the claim subject to offset?
g No
1 n Yes
` PG County Last4 digits of account number ___ __'Z__é _:Z $ 40'00 $ 40‘00 $ 0'00
Priority Creditor‘s Name
PO BOX 17416 When was the debt incurred?
Number Streel
As of the date you fiie, the claim is: Check all that apply.
Baltimore MD 21297 n Contingent
city state zlP code E] unliquidated
cl Disputed
Who incurred the debt? Check one.
g Debtor1 only Type of PR|OR|TY unsecured claim:
g :e::or: °n::D m 2 l a Domestic support obligations
e or an e or on y Taxes and certain other debts you owe the government
C] At least one or the debtors and another n . . . .
C|alms for death or personal lnlury whlle you were
a Check if this claim is for a community debt '"t°X'°ated
El other. specify
ls the claim subject to offset?
w No
[] Yes , ,
--| Revenue Authority Prince George Co usf 4 diggs of account number _'_7_£__£ _(_Q $ 200.00 $ 200.00 s 0.00

 

Priority Creditofs Name

1300 Mercantiie Lane, Suite 108

 

 

 

Number Street
Largo MD 20774
city state zlP code

Who incurred the debi? Check one.

g Debtor1 only

cl Debtor 2 only

n Debtor1 and Debtor2 only

a At least one of the debtors and another

a Check if this claim is for a community debt

is the claim subject to offset?

UNo

,ClYes

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

When was the debt incurred?

As of the date you fiie, the claim is: Check all that apply.

n Contingent
El unliquidated
a Disputed

Type of PR|OR|TY unsecured claim:

cl Domestic support obligations
Taxes and certain other debts you owe the government

n Claims for death or personal injury while you were
intoxicated

 

Cl otner. specify

 

page _ of _

 

Debtor 1

Michelle Hendel@si$e 19-10499 Doc 1

Filed 01 /1 4/1 sua%g>ngeen;;mpi 91

 

 

FilstName Middle Name

Last Name

Your mole unsecured claims - continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. y[Tt.itai claim

 

 

 

 

 

 

Prliriwj t ylieni»'rii¢>riilr?

 

 

 

 

 

 

 

 

 

 

 

 

 

Priority Creditor‘s Name

PO Box 37038 DC 2001

 

 

 

Number Stree't
Washington DC 20013
City State ZlP Code

Who incurred the debt? Check one.

d Debtor1 only

a Debtor 2 only

cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

El check ir this claim is for a community debt

is the claim subject to offset‘?

uNo

DYei,

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

 

' j amount amount /;r
::l ll=e. county lle Automated Enioroem mt 4 dunn °, mount numnu iii _(e _’Z 3 75.00 $ 75.00 $ 0.00
, n'ority r ito s arne t
P 0 Box 13286 When was the debt incurred?
Number treat
As of the date you tile. the claim is: Check all that apply.
Baltimore, MD 21203 ill Contingent
city sine zlP code Cl unliquidated
El Disputed
Who incurred the debt? Check one.
ii Debtor1 only Type of PR|OR|TY unsecured claim:
cl Debtor 2 only n Domestic support obligations
C] Debtor1 and Debtor 2 only .
a At least one °fme debtors and another Taxes and certain other debts you owe the government
n Claims for death or personal injury while you were
Cl check lr this claim is for a community debt ‘m°"“”‘ed
El other. specify
§ ls the claim subject to offset?
m No
n Yes
riority redilofs ame
1 10 Carroi| Streei when was tile debt incurred?
Number Street
As of the date you fiie, the claim is: Check all that apply.
Annapo|is MD 2141 1 cl Contingent
city slate zlP code Cl unliquidated
cl Disputed
Who incurred the debt? Check one.
g Debtor 1 only Type of PR|OR|TY unsecured claim:
g ge:tt:r j ong/new 2 n Domestic support obligations
e r an or only Taxes and certain other debts you owe the government
Cl At least one of the debtors and another m . . . .
Claims for death or personal injury while you were
n Check if this claim is for a community debt im°xi°°ted
El other. specify
le the claim subject to offset?
m No
m Yes t
--] District of Columbia Government mut 4 dunn of account number § fe 'Z_ g s 240.00 s 240.00 s 0.00 l

When was the debt incurred?

As of the date you fiie, the claim is: Check all that apply.

cl Contingent
U unliquidated
U Disputed

Type of PR|OR|TY unsecured claim:

Cl Domestic support obligations
Taxes and certain other debts you owe the government
cl Claims for death or personal injury while you were

 

intoxicated
Ei other. specify

 

page __ of __

 

 

Michelle Hendéi§uie 19-10499 DOC 1

Fifsi Name Midd|e Name La$ Name

Your amole unsecured claims - continuation page

Fiied 01/14/19 Cas§>ne]gleergf§mo”i 91

Debtor 1

 

 

 

   

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

 

 

m Govemment of DC 150.00 a 150.00 $

 

 

 

 

Priority Cneditol’s Name

PO Box 37135

Number Slreet

Washington DC 20013
City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

Last 4 digits of account number _\_525_ 2 $

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

cl Contingent
Cl unliquidated
cl Disputed

Type of PR|OR|TY unsecured claim:

cl Domestic support obligations
Taxes and certain other debts you owe the government
n Claims for death or personal injury while you were

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

 

 

 

 

 

Cl Check if this claim is for a community debt im°Xi°ated

Cl other. specify
ls the claim subject to offset?
g No
cl Yes
ecvemrneni of Dc mt 4 diem of mount hamm _Z_Q §_Q s 205.00 $ 205.00 $ 0.00 ;
Priority Crediior's Name §
PO BOX 37135 When was the debt incurred?
Number Streei

As of the date you file, the claim is: Check all that apply.
Washington DC 20013 n Contingent
city slate ziP code EI unliquidated

Cl Disputed
Who incurred the debt? Check one.
q Debtor1 only Type of PR|OR|TY unsecured claim:
n Debtor 2 amy Cl Domestic support obligations
a Debtor1 and Debtor 2 only T .

axes and certain other debts you owe the government
n At least one of the debtors and another m Cl . . . .
aims for death or personal injury while you were

Cl Check if this claim is for a community debt '"t°x'°ated

E| omer. specify
ls the claim subject to offset?
g No
n ¥es l
Governmeni of DC m 4 dish °, account number _§Q_@ Q c 55.00 c 55.00 c 0.00 j
Priority Creditol’s Name ,.
PO Box 37135 When was the debt incurred?
Number Street

As of the date you file, the claim is: Check all that apply.
Washingion DC 20013 El comingem
city stale zlP code E] unliquidated

n Disputed

Who incurred the debt? Check one.

w Debtor1 only

n Debtor 2 only

El Debtor1 and center 2 only

m At least one of the debtors and another

m Check if this claim is for a community debt

ls the claim subject to offset?

q No
,,,,§J,,Yes ,

 

Schedule ElF: Creditols Who Have Unsecured Claims

Type of PR|OR|TY unsecured claim:

n Domestic support obligations
Taxes and certain other debts you owe the government

a Claims for death or personal injury while you were
intoxicated

El other. specify

 

 

 

page ___ of __

Michelle Hendc€calse 19-10499 Doc 1

Flist Name Middie Name Last Name

Fiiooi 01/14/19¢3$3,@g,o,ggwoi 91

Your Pluonl'rv unsecured claims - continuation page

Debfor 1

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total claim Priority Nonprlority `
amount alimoan
[:l Government of DC La,u mng of account numbe, 0 0 0 5 s 65.00 s 65.00 s 0.00 0
Priority creditors Name _’°' "" "' ‘_°
PO Box 37135 When was the debt incurrod?
Number Street
As of the date you file, the claim is: Check all that apply.
washington Dc 20013 Cl Contingent
city state zlP code E| unliquidated
n Disputed

Who incurred the debt? Check one.
q Debtor1 only

n Debtor 2 only

cl Debtor1 and Debtor 2 only

m At least one of the debtors and another

m Check if this claim is for a community debt

 

 

 

 

Type of PRioRiTY unsecured claim:

§ Domestic support obligations
Taxes and certain other debts you owe the government

n Claims for death or personal injury while you were
intoxith

Cl other, specify

 

 

 

 

 

 

 

 

Who incurred the debt? Check one_

w Debtor1 only

n Debtor 2 only

C| Debtor1 and Debior 2 only

cl At least one of the debtors and another

_ El check lf this claim is rol- a community debt

is the claim subject to offset?

uNo

P,,Ye§…

 

is the claim subject to offset?
g No
n Yes
I::| Govemment of DC mt 4 diane of account number __Q __Q __/ § $ 300.00 5 300.00 $ 0.00
Priority Cred`ltol’s Name
PO BOX 37135 When was the debt lncurred?
Number Sireet
As of the date you file, the claim is: Check all that apply.
Washington DC 20013 9 Contingent
city stale ziP code El Unliquidated
El oisputed
Who incurred the debt? Check one.
q Debtor1 only Type of PR|OR|TY unsecured claim:
m Debtor 2 amy n Domech support obligations
Cl Debtor1 and Debtor 2 only ,
Taxes and certain other debts you owe the government
cl At least one of the debtors and another n , . . .
Claims for death or personal injury while you were
El check ii this claim is rcr a community debt '"‘°"'°a‘e°
n Other. Specify
ls the claim subject to offset?
m No
Q ,Ye,s , ., ,. v, ., …
Govemmem of DC Last-t digits ofaccount number j L/ 0 3 5 300-00 $ 300-00 $ 0~00
Priority Creditors Name `__ `_"~ _
PO BOX 37135 when was the debt incurred?
Number Street
As ot the date you file, the claim is: Check all that apply.
Washington DC 20013 cl Contingent
city state ziP code E] unliquidated
cl Disputed

Type of PR|OR|T¥ unsecured claim:

n Domestic support obligations
Taxes and certain other debts you owe the government
a Claims for death or personal injury while you were

 

intoxith

E] Otl'ler. Specify

 

 

Oflicial Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

page _ of __

 

Debtor 1

Michelle Hender§:&i$€ 19-10499 DOC 1

Fiiooi 01/14/1@ase E@go,,§p of 91

 

First Name Midd|e Name

m your mole unsecured claims - continuation l»ago

Last Name

 

 

.' After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

 

 

 

 

  
          

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

 

 

 

 

Who incurred the debt? Check one.

d Debtor1 only

m Debtor 2 only

m Debtor1 and Debtor 2 only

Cl At ieast one of the debtors and another

El check if this claim is for a community debt

ls the claim subject to offset?

UNo
t Q,,,Ye§,, t,

 

[:| Govcmment of Dc La,, 4 mm of account numbe, _/_/ _f_/_/fé $ 150.00 c 150.00 o 0.00
" Priority Creditor‘s Name
PO Box 37135 When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
washington Dc 20013 Cl Contingent
city state zlP code U Unliquidated
El Dismlted
Who incurred the debt? Check one.
q Debtor 1 only Type of PR|OR|TY unsecured claim:
g :e::°r: eng Debt 2 Domestic support obligations
e or an or only d Taxes and certain other debts you owe the government
n At least one of the debtors and another L-J
Claims for death or personal injury while you were
Cl check ir this claim is for a community debt '"t°"'“‘e°
El oihcr. specify
is the claim subject to offsct?
q No
n Yes
Government of l:)c mude °,,cc°um number jj _@_’_7 100.00 s 100.00 $ 0.00‘
Priority Creditol’s Name ‘
PO B<>X 37135 when was the debt lncurrcd?
Number Street
As of the date you file, the claim is: Check all that apply.
Washington DC 20013 n Contingent
city state zlP code D unliquidated
m Disputed
Who incurred the debt? Check one.
q Debtor1 only Type of PR|OR|TY unsecured claim:
g ::::o':: ong Debt 2 l [J Domestic support obligations
or an or on y Taxes and certain other theth you owe the government
n At least one of the debtors and another n _ . . .
Claims for death or personal injury while you were
U Check if this claim is for a community debt '"t°x'°at°d
n Other. Specify
ls the claim subject to offset?
m No
Govemmcnt of Dc mt 4 d,giw of account mm j _5__ Q’: g c 100.00 c 100.00 s 0.00 b
Priority Creditor’s Name /
PO Box 37135 When was the debt lncurred?
Number street
As of the date you file, the claim is: Check all that apply.
Washington DC 20013 n Contingent
city state zlP code U unliquidated
n Disputed

Type of PR|OR|TY unsecured claim:

n Domestic support obligations
Taxes and certain other debts you owe the government

m Claims for death or personal injury while you were
intoxicated

Cl Other. Specify

 

 

Schedule EIF: Creditors Who Have Unsecured Claims page _ of

Michelle Hende€eeae 19-10499 Doc 1

Fust Name Middie Name Last Name

Fiied 01/14/19¢35§>,@,9§,§“;”91‘ 91

Your PR|CR|TY Unsecured Claims - Continuation Fage

Debtor 1

 

 

§ Atter listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

 

|:j internal Revenue Service

 

 

 

 

Priority Creditor’s Name

PO Box 7346 PA 19107

Number Street

Philade|phia, PA 19107
City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

\;l Debtor 2 only

n Debtor1 and Debtor 2 only

L_J At least one of the debtors and another

   

s

Last4 digits of account number L l j /_ 3 25-357-3c $ 25»357-3 $

When was the debt incurred?

 

As of the date you file, the claim is: Check ali that apply.

n Contingent
El unliquidated
n Disputed

Type of PR|OR|TY unsecured claim:

cl Domestic support obligations
Taxes and certain other debts you owe the government
cl Claims for death or personal injury while you were

 

 

 

 

 

 

 

iIl check if this claim le for a community debt i"*°"‘°a*ed
n Other. Specify
y is the claim subject to offset?
q No
_; cl ¥es
; Last 4 digits of account number ___ _ _ __ 5 $ 5
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that applyv
n Contingent
city sure ziP code Ci unliquidated
E] Disputed

Who incurred the debt? Check one.

n Debtor 1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

Type of PRIGRiTY unsecured claim:

cl Domech support obligations
n Taxes and certain other debts you owe the government
g Claims for death or personal injury while you were

 

 

 

 

 

 

 

 

El check ir this claim le for a community debt *“‘°X‘°a‘e"
Ei othei. specify
is the claim subject to offset?
n No
' cl Yes y
Last4 digits of account number _ _ ___ ____ 3 $ $
1 Priority Creditors Name
When was the debt incurred?
< Number Street
As of the date you file, the claim is: Check all that apply.
j n Contingent
city state zlP code Cl Unliquidated
cl Disputed

Who incurred the debt? Check one_

m Debtor1 only

a Debtor 2 only

n Debtor1 and Debtor 2 only

a At least one of the debtors and another

n Check if this claim is for a community debt

is the claim subject to offset?

UNo
ClYes ,,, , ,

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

Type of PR|OR|TY unsecqu claim:

E] Domestic support obligations
n Taxes and certain other debts you owe the government 3

cl Claims for death or personal injury while you were
intoxicated

iIl other. specify

 

 

page _ of _

 

 

Debtor1 Michelle Hender§;iqse 19-10499 DOC 1 Filed 01/14/1¢93$€,|3,§,§§,,§2,,01‘ 91

First Name Middle Name Last Name

 

 

m List All of Your NQNPRlCRlTY unsecured claims

 

 

f 3. Do any creditors have nonpriority unsecured claims against you?

m No. You have nothing to report in this part. Submit this form to the court with your other schedules.

¥es

4. List ali of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each ciaim. if a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim iisted, identify what type of claim it is. Do not list claims already
included in Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims iiil out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Aargon Co“ection (Six F|ags) Last 4 digits of account number§ § ,/Q_Q 197 6 4 y
§ Nonpiiority creditors Name $.____.__;_

8668 Spring Mountain Rd When was the debt incurred?

Number Street

Las Vegas NV 891 17

city state zlP code As of the date you file, the claim is: Check ali that apply.

n Contingent

Who incurred the debf? Check one. m Uniiquidaied

m Debtor1 only 0 Disputed

cl Debtor 2 only

Cl oeotoi 1 ana debtor 2 only Type or NoNPRloRlTv unsecured claim:

a At least one of the debtors and another n Student loans

[] Check if this claim is for a community debt n Obligations arising out of a separation agreement or divorce

that you did not report as priority claims

is the claim subject to offset? cl Debts to pension or proiit-shan'ng plans, and other similar debts

M No d othei, specify Consumer debt

Ci Yes
l -2 American Medicai Collection (Lapcorp) Lan 4 diem of account number e_?/_’_'¢' __[ §§ $___.__Y:/_'l§_y
" Nonprlority creditors Name When was the debt incurred? '

PO Box 1235

Number Street

Eimsford’ Ny 10523 As of the date you file, the claim is: Check all that apply.

city State Z'P c°d° Cl Contingent

Who incurred the debt? Check one. cl Uf\"quidaied

m Debtor1 only n D’sputed

n Debtor 2 only _

m Debtor1 and Debtor 2 only Type of NCNPRiORiTY unsecured claim:

n At least one of the debtors and another cl Student loans

_ _ _ n Obiigations arising out of a separation agreement or divorce

n Check lf this claim ls for a community debt thai you did nci report as priority simms

is the ciaim subiect to mm n Debts to pension or proiit-sharing plans, and other similar debts

ill No U otnei. specify Consumer debt

cl Yes
"3 American Medicai Collection (Quest) l_ast 4 digits or account number § __/_?'___/_ §§ 364 59 ;

N°“p"°my C'°d“m Name when was the debt incu red'r $`"”"’°_“;_ "

r

PO Box 1235

Number Street

cE,n:msford ' Sl:: Z`; 2253 As of the date you file, the claim is: Check all that apply.

Who incurred the debt? Check one.

q Debtor1 only

EI Debtorz only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

cl Check if this claim is for a community debt

is the claim subject to offset?

q No
n ¥es

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

a Contingent
El unliquidated
El Disputed

Type of NONPRiORlTY unsecured claim:

E] Student loans

m Obiigations arising out of a separation agreement or divorce
that you did not report as priority claims
n Debts to pension or prolit-shan'ng plans, and other similar debts

U other. specify Qonsumer debt

page _ of __

 

 

 

Debtor1 Michelle Hendersrgr"ielse 19'10499 DOC 1

 

Fiist Name Middle Name Last Name

Filed 01/14/@&,1“}§@@@,§,3 Of 91

Your NoNFRl°RlT¥ Unsecured Claims _ continuation Page

 

1 Al'ter listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

Tou~i»ciaiin§*

 

 

 

 

 

 

 

 

 

 

American Medicai Collection (Quest) '~°$“ ‘"9‘” °' °°°°“"* "“"‘b°" __ __ -- -Q ` 3 256.73 _;
Nonpnority creditors Name i`
Wh as the d bt ' ?
PO Box 1235 enw e incurred
Number street As of the date ou file the claim is' Check all that a l
Eimsford, NY 10523 y ' ' "°"
city state zlP code E] gomingem
EJ unliquidated
Who incurred the debt? Check one. m Disputed
q Debtor1 only
Cl Debtor 2 only Type of NONPRiORlTY unsecured claim:
g Debtor1 and Debtor 2 only n Studem\oans
At `east one of the debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not few as p"°my c|?'ms _ .
Cl Debts to pension or pmm-shaan plans, and other similar debts
retire claim subject to ofrser? d other specify Consumer debt
m No
n Yes
Associiated Credit Services Last4 digits of account number j §§ __/_ § $ 746.45;
Nonpriority Creditors Name w
hen was the debt incurred?
PO Box 5171
Number Street
As of the date o tile, the claim is: Check ll th t l .
west-borough MA 01581 y “ a a a°"’
City State ZlP Code cl Contingent

Who incurred the debt? Check one.

il Debtor i only

n Debtor 2 only

cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

U Check if this claim is for a community debt
ls the claim subject to offset?

g No
n Yes

EI unliquidated
13 Disputed

Type of NONPR|OR|TV unsecured claim:

n Student loans

n Obligations arising out of a separation agreementh divorce that
you did not report as priority claims

cl Debts to pension or prolit-sharing plans, and other similar debts

q omer. speclry Consumer debt'

 

Balanced Healthcare Receivables (Greater Washingi

 

 

 

Nonpriority Creditors Name

PO Box 9577

Number Street

Manchester, NH 03108
City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

n Debtor 2 only

cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

E] check ir this claim is ror a community debt
ls the claim subject to offset?

m No
l:l Yes

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

160.87`:

$
Last 4 digits of account number 2 __/Z g ___[

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply.

m Contingent
El unliquidated
Cl Disputed

Type of NONPRlCRlTY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or prolit-sharing plans, and other similar debts

5 other. specify Consumer debt

page _ of _

5_4_

 

 

Debtor1 Michelle Hender§>'it$€ 19-10499 Doc 1

Name Mlddle Name Last Name

Fiied 01/14/193$3§;;@,,§,4001‘91

Your NONPR|0R|T¥ Unsecured Claims - Continuation Page

 

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Official Form 106E/F

ryr~’rimii;di;aiiiii*`~~
Caine & Weiner (Progressive lns.) L“" dig"s °'°°°°""t““'"b°' -O~ ig- -~ $ 165.53"
Nonpriority Creditor's Name
Wh n as the i ?
PO Box 5010 e w debt ncurred
Number Street
Wood|and Hms CA 91365 As of the date you file, the claim ls. Check all that apply.
city State ZlP Code m Contingent
E] unliquidated
Who incurred the debt? Check one. g Disputed
q Debtor1 only
Cl Debtor 2 only Type of NCNPR|ORlTY unsecured claim:
g Debtor1 and Debtor2 only m Studem loans
At vast one of me debtors and another cl Obligations arising out of a separation agreement or divorce that
Cl he k if this claim is for a comm n debt y°u md not rep°n as p"°"“ cta'ms
c c u ny a Debts to pension or proiit-sharing plans, and other similar debts
is me claim suhiect id offsei? d other specify Consumer Debt
w No
n Yes
Caine & Weiner (ProLessive Ins_) Last4 digits of account number ____ jj § s 841 .47}
Nonpriority Creditors Name
When was the debt incurred?
PO Box 5010
Number Street
. As tthedate o file,thec|lmis:Check rltht i.
Woodiand i~iiiis cA 91365 ° ’ " ° a a ap"y
city State ZlP Code Cl contingent
n Uniiquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
Ci senior 2 oniy Type or NoNPRioRiTv unsecured ciaim:
a Debtor1 and Debtor 2 only n Student loans
m A' least °"e °f the debtors and another n Obligations arising out of a separation agreement or divorce that
n Check it this claim ls for a community debt you md not report as p"°my cl?'ms _ _
n Debts to pension or proht-shanng plans, and other similar debts
ls the claim subject to offset? q mhe,_ specify Consumer Debt
q No
a Yes
$ 189.54 t

Caine & Weiner (Progressive ins.)

 

 

 

Nonpriority Creditofs Name

PO Box 5010

Number Street

Wood|and Hills CA 91365
City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

n Debtor 2 only

n Debtor1 and Debtch only

El At least one of the debtors and another

Cl Check if this claim is for a community debt
ls the claim subject to offset?

q No
U Ves

Last 4 digits of account number j__~z_@é

When was the debt incurred?

 

As of the date you file, the claim is: Check air that apply.

n Contingent
m Unliquidated
cl Disputed

Type of NCNPRlORITY unsecqu claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debts to pension or proiit-shan`ng plans, and other similar debts

q other. specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims

page __ of ___

 

 

 

Debtor1 Miche,,eHende,SQ@se19-10499 Doct Flieoi 01/14/1&$€"5>,@9§”§,§ Ol91

Hrst Name Mlddle Name Lasl Name

 

 

 

¥our NQNPRlCRlTY Unsecured Claims -- Contlnuation Page

 

 

 

 

 

 

 

 

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' Alter listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so lorth.
Celtic Bank Corp Last4 digits ofaccount number _Q __O__ __O_ 9_ $ 769_00"
Ncnpn‘ority Creditors Name the
. Wh d i
268 Soutii slate street suite 300 uT a °" ‘”°° °“‘ "°“"°‘"
Number Sm’e' As of the date ou file the claim is' Check all that
Salt Lake City UT 841 1 1 y » - apply.
city state zlP code El C°mingem
C| unliquidated
Who incurred the debt? Check one. cl Dispu‘ed
a Debtor1 only
Cl oeoloi 2 only Type of NoNPRloRrrY unsecured claim:
m Debtor1 and Debt0r2on|y n Student ‘oans
n At least °"e °f the debt°'s and another n Obligations arising out of a separation agreement or divorce that
E] check if this claim is for a community debt y°“ d'd "°' 'e'_°°" as p"°"'y °'?""S _ _
0 Deblis to pension or protit~sharlng plans, and other similar debts
ls the claim subject to offset? w owen Specify Consumer Debt
d No
n Yes
Center for Ora| & Maxillofacia| Surgery L"‘“‘ ‘"9"3 °' ‘°°°“"' ““"‘"e' -(~a~ -g: - -~ $--ZQQQ-O-,
Nonpl'iorlty Credith Name ?
. . When was the debt incurred
3233 Supenor Lane, Suite B-23 MD 20715
Number Slreet
. f fi , he ' i : ll .
Bow|e MD 20715 As o the date you le t claim a Check a that apply
City state ziP code El contingent
m Unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
D Debtor 2 only Type of NONPRiORlTY unsecured claim:
Ci Debtor 1 and Debtor 2 only m Student loans
n At least °"e of the debtors and another a Obligations arising out cf a separation agreement or divorce that
El check ir title claim a for a community debt Y°“ d“’ "°‘ "’P°“ as p“°"”' °“,‘“"‘$ _ _
m Debts to pension or pront-shanng plans, and other similar debts
ls the claim subject to oliaet? q Other_ Specify Consumer Debt
g No
Cl Yes
| l _ $ 79.007
Certer Check Services La¢t4 digits ofaccount number ___ __ __ __
Nonpr`iority Creditors Name
When was the debt incurred?
PO Box 30046
Number Stl'eet
Afthete fl, i':Ch ll t l.
Tampa FL 33630 s o da you le the cla mrs ed<a tila appy
City slate zlP code Cl Contingent

Who incurred the debt? Check one.

U Debtor 1 only

m Debtor 2 only

EJ Debtor 1 and oebtor 2 only

Cl At least one of the debtors and another

Ci check il this claim is rcr a community debt
is the claim subject to offset?

ii No
a Yes

Official Form 106E/F

El unliquidated
n Disputed

Type of NONFR|CRITY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or pmm-sharing plans, and other similar debts

5 outer. speoiry Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims page ___ of __

 

Debtor1 Michelle Hendd:`eb&e 19-10499 DOC 1 Filed 01/14/19(:3$£,§}9,§,(§0§"91‘ 91

FlrstName MiddieNsme LastName

 

 

m ¥our NONPRiORiTV Unsecured Claims - Contlnuation Fage

 

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Commonwealth One Federal Credit Union L““ ‘"9"3 °"°°°‘"‘* "“"‘"°' -- -- __ ___ s 110.15 `
Nonpriority Creditofs Name w ?
. l
4875 Elsenhower Avenue "°“ "'“ the debt "°""°d
S
hx?;;andriam VA 22304 As of the date you file, the claim is: Check all that apply.
city state zlP code l_”_| Contingent
[J unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
Cl center 2 only Type or NoNPRloRlTv unsecured claim:
n Debtor1 and Debtor 2 only a Student wang

n At least °"e °f me debt°'$ and a"°the' a Obligations arising out of a separation agreement or divorce that

you did not report as priority claims

a Check if this claim is for a community debt _ _ , ,
cl Debts to pension or proiit~shanng plans, and other similar debts

 

 

 

 

 

 

 

 

's "‘° °'*‘"' °"bi°°* *° °“‘°*? U other. speciry Consumer Debt
5 No
C] Yes
Credit Collection Services (Geico) '~““ ‘“9“3 °f‘°°°“"* "“"'b°' _ _g~_/ 2 $__1_1.4_1_4_-_1_5_1
Nonpn'ority Creditors Name he vt `
wh t d ' d?
725 Canton Street en was ° "'°“"°
Number Street
A rthed nl, i':cnci<ll l.
Norwood MA 02062 s o ate you e the cia m is e a that appy
Crty State Z|pm n contingent
Cl unliquidated
Who incurred the debt? Check one. cl Disputed
q Debtor1 only
L'.l oeotor 2 only Type or NoNPRloRlTY unsecured claim:

C| oebtor 1 and Debtor 2 only

n Student loans
n At least one of the debtors and another

cl Obligations arising out of a separation agreement or divorce that
U Check if this claim is for a community debt y°" d'd "°t '°‘_’°n as p"°my °'?'ms _ _

L_.\ Debts to pension or pro&t-shanng plans, and other similar debts
is the claim subject to omet? q owen specify Consumer Debt
iii No
Cl Yes

7 7 ~~ ' 75.18§
|-_-] Last 4 digits of account number § Q_ l_ $

Credit Collection Services (Quest Diagnostics)

 

 

Nonpriorit~y Creditors Name

 

 

When was th debt incurred?
725 Canton Street °
Number Street
A , th : h ll .
Norwood MA 02062 s of the date you file e claim is C eck a that apply
C"Y State Z"’ C°°° a Contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
a Debtor1 only
Cl Debtor 2 only Type of NONPRiORlTY unsecured claim:
m Debtor1 and Debtor2 only a Student loans

a At least °ne °f the debt°"' and another 0 Obligations arising out of a separation agreementh divorce that

you did not report as priority claims
El Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? d omer_ specify Consumer Debt

g No
m Yes

C] check ii title claim is for a community debt

Oflicial Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page __ of___

 

 

 

Debtor1 Michelle Hender&gse 19-10499 DOC 1 Filed 01/14/1§$,,|§’"@9§~§], Of 91

e Middle Name LastName

 

 

Your NONPR|0R|TY unsecured Claims - continuation Page

 

5 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so form.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Credit Collection Services (Quest Diagnostics) L°S“ ‘"9'“ °'°°°°""‘ ""'“b°' _g§ §§ § $ 84.60`
Nonpriority Creditor's Name '
W ' ?
725 Canton Street henwasthe debtlncurred
Number Street
Norwood MA 02062 As of the date you file, the claim is. Check all that apply.
City slate zlP code CI Contingent
Cl unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
Cl Debtor 2 only Type of NONPRiORlTY unsecured claim:
L_.] Debtor1 and Debtor2 only n student |oans
a At least °"e °nhe debtors and another n Obligations arising out of a separation agreementh divorce that
n Check if this claim is for a community debt n V°“ d‘d "°i rel>°f! as prlorlty clalms t _
Debts to pension or protit~shanng plans, and other similar debts
ls ind claim subject to dusen 51 omer_ Specify Consumer Debt
d No
a Yes
Credit Collection Services (Quest Diagnostics) '~“" ‘"9“3 °'°°°°‘"" "“'“b°" -- _'- -__ __ $___5_1_-_3_7_‘l
Nonpriority Creditors Name
When was the debt incurred?
725 Canton Street
Number Street
Afhdaofi, lai:cklltl.
Norwood MA 02062 sote teyu lethec mls Che athaappy
City Sfafe Z"’ Code n Contingent
Cl unliquidated
Who incurred the debt? Check one. m Disputed
q Debtor1 only
U Debtor 2 only Type of NONPRiORlTY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
A‘ west one °f the debtors and another a Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not re'_)°n as p"°"ty d_a'ms _ ,
L_.l Debts to penslon or proEt-shanng plans, and other similar debts
ls the claim subject to arisen d owen spe¢iry Consumer Debt
q No
C] Yes
L_I $__§:1_-§95

Credit Collection Services (Quest Diagnostics)

 

 

 

Nonpr`lority Creditors Name

725 Canton Street

Number Street

Norwood MA 02062
City State ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

Cl At least one of the debtors and another

n Check if this claim is for a community debt
ls the claim subject to oifset?

q No
n Yes

thcial Form 106E/F

/
Last 4 digits of account number ___ _/_Z _7_2
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
E] unliquidated
E] Disputed

Type of NONPRiORlTY unsecured ciaim:

cl Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debts to pension or profit-sharing plans, and other similar debts

g omer. specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims page _ of____

 

omni Michelleilendere©nse19-10499 Dooi

Flrst Name Middle Name Last Name

Fileol 01/14/13$6,,5>,,@9§&,§ of 91

Your NQNPRlORlTY Unsecured claims - Continuation Fage

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Diagnostic lmaging, LLC Last4 digits of account number __@___ ____ ___ $ 512_78 t
Nonpriority Creditors Name .

Whe he d bti ?
Po Box17439 "‘”°" ° "°“"°"
Number street
Baltimore MD 21297 As of the date you file, the claim ls. Check all that apply.
city siaie zlP code E] Contingent ,
n Unliquidated
Who incurred the debt? Check one. a msz
U Debtor1 only
El oeoior 2 only Type of NoNPRloRlTY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At vast °"e °fme debtors and another El Obligations arising out of a separation agreementh divorce that
El check ll this claim is ror a community debt y°“ d‘° "°t '°‘_’°" as °"°"‘y °",‘"“s . _
n Debts to pension or proiit-sharlng plans, and other similar debts
is inc claim subject to onsct? d other Specify Consumer Debt
d No
m Yes
Discoum Carpet l.asu digits oracccum number ____ __ ___ _ s 2,067.12:_
Nonpriority Creditors Name
When was the debt incurred?
8038 Femham Lane
Number Sireet
. Asoith dte fi ,thec imls:Check lllht .
l=orestville MD 20747 ° ° ’°" ‘° '° a a a"""'
city slate zlP code Cl contingent
El unliquidated
Who incurred the debt? Check one. g Disputed
q Debtor1 only
Cl Debtor 2 only Type of NONPRiORlTY unsecured claim:
g Debtor1 and Debtor2 only n Student mens
At 'eas* one °f the debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim ls for a community debt you md not report as p"°my °l`?'ms . _
0 Debts to pension or proiit-shanng plans, and other similar debts
ls the claim subject to offset? m other. Specify Consumer Debt
q No
n Yes
_ l §§ / 7 $ 1,684.30;
, Last 4 digits of account number _ __ ____

Educational Systems Federal CU

 

 

 

Nonprioriiy Creditors Name

7500 Greenway Ctr Drive MD 20770

Number Streei

Greenbe|t MD 20770
city state zlP code

Who incurred the debt? Check one.

q Debtor1 only

a Debtor 2 only

n Debtor1 and Debtor 2 only

m Al least one of the debtors and another

Cl Check if this claim is for a community debt
is the claim subject to offset?

w No
Cl Yes

official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims page __ of

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
m Disputed

Type of NONPRiORlTY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

q omer. specify Consumer Debt

 

 

 

penrod Michelle Hendo€eeae 19-10499 Docl

First Name Middlo Name Last Name

Filed 01/14/19¢asg,@9§(§”gpi 91

Your NoNPRlCRiTY Unsecured Claims - Contlnuatlon Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

Fingerhut

 

Nonprlority Creditor’s Name

6250 Ridgewood Road MN 56303-0820

 

Number Street

Saint Cloud MN 56303

 

City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

n Debtor 2 only

cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

 

Last4 digits of account number __OZ_Q Q 2 $ 48_00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
[J unliquidated
n Disputed

Type of NONPRiORlTY unsecured claim:

n Student loans

Cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims
cl Debts to pension or prolit.shan`ng plans, and other similar debts

 

 

 

 

 

 

 

 

is the claim subject to offset? g Other_ Specify Consumer Debt
g No
n Yes
First Access Last 4 digits of account number _@ f g_ j 5 434.47 t
Nonpriority Creditors Name ~
Wh a the d bt l ?
p0 Box 5220 enw s e ncurred
Number Street
. f l , l ' : l .
S|oux Fa"S SD 57117 As o the date you fl e the c aim is Check all that app y
City state ziP code 1:| Contingent

Who incurred the debt? Check one.

q Debtor1 only

Cl Debtor 2 only

El Debtor1 and Debtor 2 only

n At least one of the debtors and another

m Check if this claim is for a community debt
ls the claim subject to offset?

m No
cl Yes

Cl unliquidated
cl Disputed

Type of NONPRiORlTY unsecured claim:

n Student loans

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or prolit-sharing plans. and other similar debts

U otner. specify Consumer Debt

 

 

First Premier Bank

 

 

 

§ Nonpriority Credith Name
3820 N Louise Avenue
Number Street
SlOuX FallS SD 57017
City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

m Debtor 2 only

El Debtor1 and oebtor 2 only

Cl At least one of the debtors and another

n Check if this claim is for a community debt
is the claim subject to olfset?

q No
n Yes

Official Form 106E/F

361.00f
Last 4 digits of account number g _Q_ _Q f $‘_`_'°'°_°;

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

L_.] Contingent
C| unliquidated
m Disputed

Type of NONPRiORlTY unsecured claim:

n Student loans

a Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

5 other. specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims page _ of __

Debtor1 Michelle Hend&)gi$ie 19-10499 DOC 1 Filed 01/14/19635§1§,9‘,§§”@0”§)1°91

Firsi Name Middle Name Last Name

 

 

w Your NONPRIOR|TY Unsecured Claims - continuation Page

 

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F|T Credit Card Last4 digits of account number _E_g _Q f s 486_70§
Nonpriority Creditors Name ~,
PO Box 6812 When was the debt incurred?
%;T$| Stres;ene; "_ 60197 As of the date you file, the claim is: Check all that apply,
City Siaie Z|P Code n Contingent
C] unliquidated
Who incurred the debt? Check one. m Disputed
q Debtor1 only
Cl Debtor 2 only Type of NONPRiORlTY unsecured claim:

|'_'l Debtor1 and Debtor 2 only

n Student loans
a At least one of the debtors and another

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

El check ii this claim ic rcr a community debt _ _ _ _
n Debts to pension or profit-sharing plans, and other similar debts

 

 

 

 

 

 

 

 

ls the claim subject to offset? w omer_ specify Consumer Debt
q No
cl Yes
Fort Washington Hospita| Last4 digits of account number __ j _?_Z_'___/__ s 352.95:`
Nonpriority Creditors Name ?
When was the debt incurred
PO Box 64808
Number Sti'eet
. A f h , l ' : .
Baltimore MD 21264 s o t c date you file the c aim is Check all that apply
City State ZlP Code m Contingent
El unliquidated
Who incurred the debt? Check one. L-_l Disputed
q Debtor1 only
El Debtor 2 only Type of NCNPR|OR|TY unsecured claim:

a Debtor1 and Debtor 2 only

a Student loans
g At least one of the debtors and another

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Cl Check if this claim is for a community debt _ _ _ _
n Debts to pension or protit-shanng plans, and other similar debts

 

 

 

 

 

 

ls the claim subject to offset? q owen Specify Consumer Debt
Ei No
§ n Yes
._[ 7 b 91 3 $ 388.07§
,_ port Washington Hospita| Last 4 digits of account number ___ ___ _ ___ “*"“*°“"“i
l Nonpriority Creditors Name
llllh th d btl d?
PO Box 64808 en was 3 e ncurl'e
Number Sti'eet
. fth fi , l l i : h ll l .
Ba|tlmore MD 21264 As o e date you le the c a m s C ecka that appy
city State ZlP Code cl Contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
Cl oecidrz only Type cf NoNPRioRl'rv unsecured claim:

m Debtor1 and Debtor 2 only

n Student ioans
U At least one of the debtors and another

n Obligations arising out of a separation agreement or divorce that

 

Cl Check if this claim is for a community debt you did not report as priority °!?ims 4 _

n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? q other_ Specify Consumer Debt
w No

n Yes

Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page ___ of

 

 

 

 

Michelle Hender§§i$e 19'10499 DOC 1

Flist Name Middle Name Last Name

Debtor 1

 

Filed 01/14/193$€33@!9§,,”4,,3")¢ 91

m Your NCNPR|°RIT¥ Unsecured Claims -- Contlnuatlon Page

 

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l
Last 4 digits of account number § __Z __Q ;é

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Fort Washington Hospital $ 251 .94 f
Nonpriority Creditors Name '
W t de i
PO Box 64808 hen was he bt ncuried?
Number Street
. fi : .
B an l m or e As of the date you le, the claim is Check all that apply
city state zlP code D Contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
El center 2 only Type cf NoNPRioRlTY unsecured claim:
Cl Debtor1 and Debtorzonly cl Student |oans
a At least one °f me debtors and ammar n Obligations arising out of a separation agreement or divorce that
El Check if this claim is for a community debt you d'd not regan as pmmy cl?'ms , _
cl Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? d Other_ Specify Consumer Debt
w No
a Yes
Fort Washington Medica| Center Last4 digits of account number d __[ 43 f s 186.36 §
Nonpriority Creditor's Name
. . When was the debt incurred?
11711 Livlngston Road Fort
Number street
. A ofthedte ufile, he imls:Chck ltht .
Washington MD 20744 8 a y° t °'° ° al a app'y
City state zlP code U Contingent
E] unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
Cl Debtor 2 only Type of NONPRIGR|TY unsecured claim:
m Debtor1 and Debtor 2 only n Student hans
n At least °"e °f the debtors and another cl Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you did not report as p"°my cl,a'ms _ _
cl Debts to pension or proht-shanng plans, and other similar debts
ls the claim subject to offset? w Other_ Specify Consumer Debt
m No
m Yes
j l ¢7/ Oj $ 3323.07'y
Fort Washington Medicai Center "““ ‘"9“‘ °"°°°""t "“'“°°' - -- -- -- 3
Nonpriority Creditors Name
. . When was the debt incurred?
1 171 1 Livingston Road Fort
Number west As of the date ou file the claim is' Check all th ta ly
Washingion lle 20744 y ' ' a "° '
City State ZlP Code n Contingent
E| unliquidated
Who incurred the debt? Check one_ n Disputed

U Debtor1 only

n Debtor 2 only

Cl Debtor1 and Debtor 2 only

Cl At least one of the debtors and another

a Check if this claim is for a community debt
ls the claim subject to offset?

mr No
n ¥es

Official Form 106E/F

Schedule EIF: Creditors Who Have Unsecured Claims

Type of NONPRiORlTY unsecured claim:

a Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

il other. specify Consumer Debt

page ____ of _

+'

 

 

 

Debtor1 Michelle Hendergogse 19"10499 DOC 1

First Name Middle Name Lasi Name

 

Filed 01/14/193$€43,@°%£3,,¢ 91

mont NONPRICRlTY Unsecured Claims - ¢ontinuation Fage

 

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Last4 digits of account number __(>_LQ _?_2:_2_/

 

 

 

 

 

 

 

 

 

 

 

 

Fort Washington Hospita| s 107.33 y
Nonpriority Creditor‘s Name §
When a the d bt 'n rred?
Po Box 64808 ‘” ’ ° '°"
Number Street
B am m or e As of the date you file, the claim ls. Check all that apply.
city state ziP code C] Contingent
Cl unliquidated
Who incurred the debt? Check one. cl Disputed
a Debtor1 only
El Deuiorz only Type or NoNPRloRlTv unsecured claim:
n Debtor1 and Debtor2 only n Student loans
n At least °ne °f the debtors and an°mer n Obligations arising out of a separation agreement or divorce that
El check ii this claim is for a community debt n y°" °'° “°‘ 'e‘_’°" as °"°"ty °"f“'“s _ _
Debts to pension or prolit-shanng plans, and other similar debts
ls the claim subject to offset? q other specify Consumer Debt
g No
U Yes
Fort Washingt£n Hospital "°“"4 ‘"9“‘ °' *°°°""* "“"“’°' _Q _Z j _,Z $__12_0_-.0_9_§
Nonpriority Creditors Name
When was the debt incurred?
PO Box 64808
Number Street
. As of the date ou file, the claim is: Check all that a .
Baltimore y pp'y
City State ZlP Code cl Contingent
El unliquidated
Who incurred the debt? Check one_ D Disputed
q Debtor1 only
Cl Debtor 2 only Type of NCNPR|OR|TY unsecured claim:
n Debtor1 and Debtor 2 only n S\udem hans
n At least °"e °f the debtors and another m Obligations arising out of a separation agreement or divorce that
D Check if this claim is for a community debt you d'd nm report as p"°my ck,'"ms _ _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? q omer_ Specify Consumer Debt
q No
cl ¥es
Last4 digits of account number 32 ___ _~§_ ~

 

Fort Washingt£n Hospital

Nonpriority Creditors Name

PO BOX 64808

 

Number Stree't
Baltimore

 

City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

m Debtor 2 only

Cl Debtor1 and Debtor 2 only

cl At least one ol' the debtors and another

cl Check if this claim is for a community debt
ls the claim subject to offset?

m No
l:l ¥es

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
a Disputed

Type of NONPRiORlTY unsecured claim:

[:l Student loans

n Obligations arising out cfa separation agreement or divorce that
you did not report as priority claims

a Debts to pension or prolit-sharing plans, and other similar debts

d other specify Consumer Debt

page __ of _

 

 

 

 

Michelle Hender§>%Se 19'10499 DOC 1

Fiist Name Middie Name LastName

Debtor 1

Fiied 01/14/19ase ig,qg,e,k,d,,§» of 91

m Your NoNPRI°RITY Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

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Last 4 digits of account number ___z ___ H

 

 

 

 

 

 

 

 

 

 

Gl Associates of MD $ 20.00
Nonpriority Creditors Name
. . h ‘
3510 Washlngion Rd, sulie 201 ‘” °" "'“ ‘“° “°'°‘ "'°“"°‘"
Number street As of the date ou file the claim is‘ Ch ck ll th ta l
Waldori iviD 20602 y ’ ' ° a a "°’~
city state zlP code L__| Contingent
Cl unliquidated
Who incurred the debt? Check one. m Disputed
a Debtor1 only
EJ debtor 2 only Type of NoNPRioRlTY unsecured claim:
El Debtor1 and Debtorzoniy n Studen“oans
n At ‘ea`“ °"e °f the dem°rs and another Cl obligations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt you d'd not report as monty cl?'ms . _
n Debts to pension or pront-shanng plans, and other similar debts
le the claim subject to offset? d owen Specify Consumer Debt
g No
Cl Yes
Greater Washington Em€:rgency Last 4 digits of account number ___ ____ _é_) ___ $ 225.42
Nonpriority Creditors Name
When was the debt incurred?
PO Box 500
Number Street
As otthe date o file, the la'mi: heck llth t l .
Marshail, vA 20116 " “ ° ' s ° a a a"'°y
City state zlP code El contingent
El unliquidated
Who incurred the debt? Check one. g Disputed
m Debtor1 only
L_.] Debtor 2 only Type of NONPRiORlTY unsecured claim:
Cl Debtor1 and Debtorzonly cl Studmtlwns
g At west °ne °f the debtors and another cl Obligations arising out of a separation agreement or divorce that
5 El check if this claim le for a community debt V°“ d‘d "°‘ '°'_’°" as p“°"‘y °'?"“s _ ,
ll n Debts to pension or proht‘shanng plans, and other similar debts
ls the claim subject to offset? q omer_ specify Consumer Debt
g No
n Yes
$ 369.92 §

Greater Washington Emergency

 

 

Nonpriority Creditor`s Name

PO Box 500

Number Sti'eet

Marshall VA 20116
city state ziP code

Who incurred the debt? Check one.

q Debtor1 only

El Debtor2 only

C] Debtor 1 and Debtor 2 only

[J At least one of the debtors and another

l:l Check if this claim is for a community debt
is the claim subject to offset?

d No
cl Yes

Official Form 106E/F

Schedule EIF: Creditors Who Have Unsecured Claims

/
Last4 digits of account number _é l Q__ _O_

When was the debt incurred?

As of the date you file, the claim is: Check ali that apply.

n Contingent
El unliquidated
El Disputed

Type of NONPRiORlTY unsecured claim:

0 Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or profit-sharing plans, and other similar debts

q other. speciry Consumer Debt

page __ of ___

 

 

 

newa Michelle Hende§€§€19-10499 Docl

Fiied 01/14/19€35€5>@@§(, 4 cr 91

 

 

F|rst Name Middie Name Last Name

¥our NONPRlCRiTY Unsecured ¢iaims - Continuation Fage

 

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_Q

Last 4 digits of account number _Q _‘_Q_'

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

Greater Washiggton Emergency _ $ 105.95 §
Nonpriority Creditors Name

When was the d i ?
Po Box 500 °"* "°""°"
Number Street, _ _
Marsha" VA 201 16 As of the date you file, the claim ls. Check all that apply.
city slate ziP code [,] Contingent

Cl unliquidated
Who incurred the debt? Check one. cl Disputed
q Debtor1 only
Cl Debtor 2 only Type of NoNPRioRiTv unsecured claim:
g Debtor1 and Debtor2 only n Student hans

At least one of the debtors and another cl Obligations arising out of a separation agreementh divorce that

|:l Check if this claim is for a community debt you md not report as p"°"ty da'ms _ _

n Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? g owen specify Consumer Debt
di uo
Cl Yes
Greater Washington Emergency Last4 digits of account number ____ __ __L_Z_Z_Q s 160.87 §
Nonpriority Creditors Name

When was the debt incurred?
PO Box 500
Number Street

As ofthe da o f`ie,t ciai is:Check llthat l .
Marshall vA 20116 “°’ " ' "° '“ a a""’
City slate ziP code Cl contingent

El unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
L_.l Debtor 2 only Type of NONPRiORlTY unsecured claim:
g Debtor1 and Debtor 2 only cl Student maris

At 'aaat one of me debtors and another a Obligations arising out of a separation agreement or divorce that

n Check if this claim is for a community debt you d'd not report as p"°my °‘_a'ms _ _

n Debts to pension or prolit-sharing plans, and other similar debts
is the claim subject to offset? m owen Specify Consumer Debt
m No
n Yes

$ 217.63

Greater Washiquton Emergency

 

 

 

Nonpriority Creditors Name

PO Box 500

Number Street

Marshall VA 20016
City State ZlP Code

Who incurred the debt? Check one.

a oebtor 1 only

n Debtor 2 only

cl Debtor1 and Debtor 2 only

cl At least one of the debtors and another

Cl Check if this claim is for a community debt
is the claim subject to offset?

d No
n Yes

Last 4 digits of account number Q Q __@ __O_
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

m Contingent
L`J unliquidated
El Disputed

Type of NONPRiORlTY unsecured claim:

Cl Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or prolit-sharing plans, and other similar debts

q oiner. specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims

page _ of

Debtor1 Michelle l-lend§stsic 19-10499 DOC1

Flrst Name Middle Name Last Name

Filed 01/14/1903$§>,§9@§§°31‘ 91

 

 

m Your NCNFRlCRlTY Unsecured Claims - continuation Page

 

 

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Last 4 digits of account number __/__7 9 _@ Q

 

 

 

 

 

 

 

 

 

 

 

Ochial Form 106E/F

 

GWU Medicai Faculty Associates -- 3 20.00
Nonpriority Creditors Name .
When was the debt inc red?
Po Box 48458 “'
Number street
Oak Park M| 48237 As of the date you file, the claim is. Check all that apply,
City state zlP code Cl Contingent
Cl unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
El Debtor 2 only Type of NoNPRloRlTv unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At least °"e of the debtors and another n Obligations arising out of a separation agreementh divorce that
_ did not report as priority claims
hit h llm to om debt "°“
n c ec lt t b c a is r a c munny n Debts to pension or proiit-shan‘ng plans, and other similar debts
ls the claim subject to offset? d other Specify Consumer Debt
d No
n ¥es
Hefuna Mental Health & We|lness L“" digits °f°°°°“"t """'b°" -- § j 2 $-----1 12'96§
Nonpriority Creditors Name th ?
. . When was e debt incurred
7474 Greenway Center Drlve, Suite 700A
Number S!ree! As of the date ou file the claim is' Check all that a pl
creenbelt MD 20770 ’ ' ' ° "
city state zchode E| Contingent
[`.`l unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
El Debtor 2 only Type of NONPRiORlTY unsecured claim:
g Debtor1 and Debtor2 only n Student loans
At least °"e °f me debtors and another n Obligations arising out of a separation agreementh divorce that
U Ch ck if this claim is for a commun` d bt you d'd not rep°n as p"°my °Ia'ms
e ny e n Debts to pension or pmm-sharing plans, and other similar debts
ls the claim subject to offset? m Other, Specify CO|"lSUme|' Debt
g No
[J Yes
3 91 .13 1

Home Paramount Pest Control

 

 

Nonpriority Creditors Name

PO Box 3666

Number Street

Camari|lo CA 9301 1
city state zlP code

 

Who incurred the debt? Check one.

q Debtor 1 only

cl Debtor 2 only

m Debtor1 and Debtor 2 only

C] At least one of the debtors and another

Cl Check if this claim is for a community debt
ls the claim subject to offset?

m No
n Yes

Last 4 digits of account number __O_?j_%_é?

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

a Contingent
D unliquidated
m Disputed

Type of NONPRiORlT¥ unsecured claim:

n Student loans

n Obligations arising out of a separation agreementh divorce that
you did not report as priority claims

cl Debts to pension or prolit-sharing plans, and other similar debts

q oiller. specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims

page __ of ___

Debtor1 Michelle Hender§iiase 19-10499 Doc 1 Fi|ecl 01/1 4/193$€,\:3§9§1¢1,§,0f 91

F`l|St Name Middle Name La§ Name

 

 

m Your NoNPRlCRITY Unsecured Claims - Continuation Page

 

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Kay Apartment Communities

 

 

 

Nonpriority Creditol"s Name

8720 Georgia Avenue, Suite 410

Number Street

Si|ver Spring MD 20910
City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

ls the claim subject to offset?

 

Last 4 digits of account number

$ 1,500.00§

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

a Contingent
Cl unliquidated
m Disputed

Type of NONPRiORlTY unsecured claim:

cl Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debts to pension or profit-sharing plans, and other similar debts

EZi otncr. specify Consumer Debt

 

 

 

 

 

 

 

d No

cl Yes

Koh|s Last4 digits of account number _ j _{ l $ 500.00
Nonpriority Creditors Name `
PO Box 31 15 When was the debt incurred?

N s

h\;|n:|t;;aukeemt W| 53201 As of the date you file, the claim is: Check all that apply.

City Siaie Z'P C°de L_.l Contingent

Who incurred the debt? Check one.

q Debtor1 only

cl Debtor 2 only

a Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt

n Unliquidated
Ei Disputed

Type of NONPRiORlTY unsecured claim:

cl Student loans

n Obligations arising out of a separation agreementh divorce that
you did not report as priority claims

cl Debts to pension or profit-sharing plans, and other similar debts

 

 

 

 

 

 

 

ls the claim subject to offset? q Other. Specify Consumer Debt

a No

n Yes

50.00

__`| Lake Arbor Dental Assoc Last 4 digits of account number y_O__Q'j_j£__Q $

Nonpriority Creditors Name 1

10270 Lake Arbor way, lle 20721-313 “"‘°" "'“ "‘° "°"‘ "‘°""°"'

H"i':;rhe"vms;%et MD 20721 As of the date you tile, the claim is: Check all that apply.

City State ZIF Code n Contingent

Who incurred the debt? Check one,

q Debtor1 only

Cl Debtor2 only

n Debtor1 and Debtor 2 only

cl At least one of the debtors and another

El Check if this claim is for a community debt
ls the claim subject to offset?

q No
a Yes

OfEcia| Form 106E/F

El unliquidated
a Disputed

Type of NONPRiORlTY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debts to pension or proiit-sharing plans, and other similar debts

5 other. specify Consumer Debt

Schedule EIF: Creditors Who Have Unsecured Claims page __ of __ 1

 

Debtor1 Michelle Hender§éii$€ 19-10499 DOC 1

 

Fllst Name Middle Name Last Name

Fiied 01/14/1Qasel;;@@e(,_,§n;",oi 91

 

¥our NONFR|OR|TY Unsecured Claims -- Contlnuation Page

 

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Last 4 digits of account number _\_z_ _q_ § _L

 

 

 

 

 

 

 

 

 

 

 

 

 

 

LCA (Labcorp) $ 140.42
Nonpriority Creditof’s Name '
When a he debt in r ?
Po Box 2240 ‘” s ‘ °" '°"
Number street _ _
Bur"ngton NC 27216 As of the date you file, the claim ls. Check ali that apply.
City stale zlP code El contingent
m Unliquidated
Who incurred the debt? Check one. n Disputed
a Debtor1 only
Cl neolor 2 only Type of NoNPRloRlTY unsecured claim:
a Debtor1 and Debtor 2 only n Student mens
n At west °ne °f the debtors and another n Obligations arising out of a separation agreement or divorce that
Cl Check lf this claim is for a community debt you d'd not few as p"omy dé'ms , _
n Debts to pension or profit-sharing plans, and other similar debts
ic the claim subject to onsct? id owen specify Consumer Debt
g No
Cl Yes
Mid America Bank and Trust Last4 digits of account number __Q _Q § _L $ 536.00;
Nonpriority Creditofs Name »
When was the debt incurred?
PO Box 400
Number Street
. As of the date ou f‘le, the claim is: Ch ck ll th t .
nixon rvlo 65459 y ' e a a a"""
ciiy slate zlP code E] contingent
Cl unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
Cl Debtor 2 only Type of NONPRiORlTY unsecured claim:
Cl Debtor1 and Debtor 2 only ['_~l Student hans
n At least °"e °f me debt°rs and a"°mer n Obligations arising out of a separation agreement or divorce that
L’.l check il this claim le for a community debt V°“ d'° “°t '°F°" as p"°'"y °":‘“"‘s _ ,
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? q omer_ specify Consumer Debt
q No
cl Yes ,
y | / 9 s 712.25;
71 MRS (Capita| One Bank) Last4 digits of account number ___ __ __ ___
Nonpriority Creditors Name
When was the debt incurred?
1930 Olney Avenue
Number S"w As of the date ou file the claim is' Check all that a ly
cherry Hill NJ 08003 " ' ' "° '
city stale zlP code l:l Contingent

Who incurred the debt? Check one.

a Debtor1 only

U Debtorzonry

ll`.i Debtor1 and Debtor 2 only

Cl At least one of the debtors and another

n Check if this claim is for a community debt
is the claim subject to offset?

id rio
n Yes

Official Form 106E/F

Ei unliquidated
n Disputed

Type of NQNPRiCR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

L_.l Debts to pension or prolit-sharing plans, and other similar debts

5 omer. specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims page __ of ___

 

penny Michellel-lende€paae19-10499 Doci

First Name Middle Name La§ Name

Filed 01/1 4/19¢353$3§;1"§% oi 91

 

 

m Your NoNFR|CRlTY Unsecured claims - Contlnuation Page

 

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Last 4 digits of account number _Q 2 § g

 

 

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

 

 

 

Nationwide Credit, lnc. (American Homeshield) $ 165.67 '
Nonprioth Creditor’s Name 1
When was the debt inc rred?
Po Box 26314 "
Number Sn'eet
. fi , l ' : .
Lehlgh Va"ey PA 1 8002 As of the date you le the c aim ls Check all that apply
city state zlP code El contingent
Cl unliquidated
Who incurred the debt? Check one. cl Disputed
q Debtor1 only
Cl Debtor 2 only Type of NoNPRloRrTY unsecured claim:
n Debtor1 and Debtor 2 only g student loans
n At vast one of the debtors and another cl Obligations arising out of a separation agreementh divorce that
. you did not report as priority claims
is f
n check rf this claim or a community debt m Debts to pension or profit-sharing plans, and other similar debts
re the claim eubiectto orreet? E[ Other_ Specify Consumer Debt
d No
U Yes
Neuro|ogica| Medicine Last 4 digits of account number ___ § _ _O__ $ 75.00 l
Nonpriority Creditors Name he l ? `
. When wast debt ncurred
7500 Hanover Parkway Suite 201
Number Street
As of the date o file, the claim is: Ch ck ll th t l .
Greenbelt, MD 20770 y “ e a a appy
city State ZlP Code cl Contingent
El unliquidated
Who incurred the debt? Check one. m Disputed
q Debtor1 only
m Debtor 2 only Type of NONPRiORlTY unsecured claim:
g Debtor1 and Debtor 2 only n Student hans
At 'east one °f me debtors and another cl Obligations arising out of a separation agreement or divorce that
m Check if this claim is for a comm n debt you d'd not report as p"°my °'a'ms
u ny cl Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? q Omer_ Specify Consumer Debt
q No
cl Yes
_ 5 jj s 55.13f
Northland Group (Target) Last4 digits of account number __ __ ___
Nonpriority Creditors Name
When was the debt incurred?
PO Box 129
Number street
As of the date o file, the claim is: Check ll that l .
Tliorofare NJ 08086 y “ a ""°’
City State zlP code l:l Contingent

Who incurred the debt? Check one.

q Debtor 1 only

l`.] Debtor2 only

El Debtor1 and Debtor 2 only

n At least one of the debtors and another

l:l Check if this claim is for a community debt
ls the claim subject to offset?

m No
n Yes

El unliquidated
n Disputed

Type of NONPRiORlTY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or plant-sharing plans, and other similar debts

q other specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims

page ____ of _

Michelle Hendéiase 19-10499 Doc 1

Flrst Name Middie Name Last Name

Filed 01/14/19 Cas§>,agteér§gwooi 91

Debtor 1

 

 

m Your N°NPR|°R|T¥ Unsecured Claims - Continuation Page

 

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l
Last 4 digits of account number _Q_L VZ 325

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

 

 

 

 

Peroutka Miller $ 569.70 §
Nonpriority Creditor‘s Name
. . . . When d t l rred?
8028 thchle nghway Sulte 300 was the °b "°"
Number street
f : .
Pasadena MD 21122 As o the date you file, the claim is Check all that apply
Ci,y slate zlP code E] contingent
Cl unliquidated
llllho incurred the debt? Check one. n Disputed
q Debtor1 only
U Debtor 2 only Type of NONPRiORlTY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At least °"e °f the debtors and another n Obligations arising out of a separation agreement or divorce that
El Check if this claim is for a community debt cl you d'd not report as p"°my Cl?'ms _ _
Debts to pension or profit-shaan plans, and other similar debts
retire claim subject to oireet? id other Specify Consumer Debt
w No
n Yes
pG Community Federal CU Last4 digits of account number §§ 2 j CZ_ $ 1,339.37i
Nonpriority Creditors Name W b '
hen was the de t incurred?
15201 Ha|| Road
Number street
. As of th date o file, the cl i is: Ch ck |lth .
Bowie, lle 20721 ° ’ " “ '“ e a a*a°"'y
city state zlP code C| contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
a Debtor1 only
El Debtor2 only Type or NoNPRloRlTY unsecured claim:
g Debtor1 and Debtor2 only a Student loans
At least one °f the debtors and another cl Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you md not report as p"°my c|?'ms _ _
m Debts to pension or profit-sharing plans, and other similar debts
le the claim subject to arisen d other speedy Consumer Debt
q No
cl Yes
_é l $ 617.00f
. . ') ---_--
Portfollo Recovery Assoclates Last 4 digits °f °°°°""t """‘b°' g -Z
Nonpriority Creditors Name
. When was the debt incurred?
120 Corporate Blvd, Sulte 100
Number street
Asofthedate o fil,thecla' i:Chck lltht .
Norioll<, vA 23502 ’ " ° "" s e a a a°""
City State ZlP Code n Contingent

Who incurred the debt? Check one.

q Debtor 1 only

n Debtor2 only

m Debtor1 and Debtor 2 only

n At least one of the debtors and another

U Check if this claim is for a community debt
ls the claim subject to offset?

q No
L_J Yes

 

l'.`.l unliquidated
El Disputed

Type of NONPRiORlTY unsecured claim:

cl Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debts to pension or profit-sharing plans, and other similar debts

iii other specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims

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Michelle Hender&il$€ 19-10499 DOC 1

Debtor 1

Filed 01/14/1§)3$€£,§,9,§“,§9, of 91

 

First Name Middle Name Last Name

 

your NoNFRl°RlTY unsecured Claims - Continuation Page

 

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Last 4 digits of account number _Z j_@ f

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

m Debtor1 only

Cl Debtor2 only

Cl Debtor1 and Debtor 2 cniy

n At least one of the debtors and another

U Check if this claim is for a community debt
ls the claim subject to offset?

il Nc
m Yes

Official Form 106E/F

El unliquidated
E] Disputed

Type of NONPRiORlTY unsecqu claim:

n Student loans

E] Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C\ Debts to pension or protit~sharing plans, and other similar debts

d omer. specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims

Professional Account Management $ 240.00 F
Nonpriority Credith Name ,
n t i rred
PO Box 37038 Whe was he debt ncu ?
Number Street _ _
Washington DC 20013 As of the date you file, the claim ls. Check all that apply.
city state ziP code CI Contingent
Cl unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
|:I Debtor2 only Type of NONPRiORlTY unsecured claim:
n Debtor1 and Debtorzoniy m Student loans
m At least one °f the debw's and another m Obligations arising out of a separation agreement or divorce that
cl Check if this claim is for a community debt you d'd not few as monty cl_a'ms _ ,
cl Debts to pension or profit-sharing plans, and other similar debts
is the claim subject w diem 51 owen Specify Consumer Debt
w No
n Yes
'QOZ 75
Professiona| Account Management ""°t 4 ‘"9'” °' °°°°“m """‘b°' - -- $ 35'50
Nonpriority Creditor's Name ,
When was the debt incurred?
PO Box 785
Number street
. As of the d te ou f'le, th claim is: Ch ck ll that .
Miiwaukcc Wi 53201 ‘ y ' ° e a a"""
city State ZlP Code E] Contingent
Cl unliquidated
Who incurred the debt? Check one. n Disputed
m Debtor1 only
Cl Debtor 2 only Type of NONPRiORlTY unsecured claim:
Cl Debtor1 and Debtor2an n Student loans
n At bast one °f me dem°'s and another m Obligations arising out of a separation agreement or divorce that
n Check If this claim is for a community debt you md not report as p"°my °|_a'ms , _
cl Debts to pension or pront-shanng plans, and other similar debts
is the claim subject to offset? E owen specify Consumer Debt
w No
n Yes
| l 3 ~ o 2 100 83 f
t . 7 $_____;___'____
~ Progressive Leasing Last 4 digits of account number ____ j ___ _Q §
Nonpriority Creditors Name
When was the debt incurred?
256 West Data Dr
Number Street
As of the date file, the clai i : heck ll th t .
Drapcr, uT 84020 ’°“ '“ ° ° a a “°""'
City State ZlP Code m Contingent

 

Michelle Hender§iiSe 194 0499 DOC 1

F`l|$l Name Midd\o Name Last Name

Debtor 1

Flled 01/14/1¢§)_,%,,E>n.;{>,q<,e,,,§,;,g0 of 91

mont NCNPRlQRlTY Unsecured ¢lairns - Continuation Page

 

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Last 4 digits of account number ,2 5 § £/

 

 

 

 

 

 

 

 

 

 

 

 

Quest Diagnostics -- $ 84.60~'
Nonpriority Creditor’s Name ,
Wh a the bt l ?
Po Box 740880 °""' s "° "°""°"
Number Streei
Cincinnati OH 45274 As of the date you file, the claim is. Check all that apply.
city state ziP code E| Contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor 1 only
Cl Debtor 2 only Type of NONPRloRlTY unsecured claim:
g Debtor1 and Debtor 2 only m Student loans
At least one °f the debtors and another n Obligations arising out of a separation agreement or divorce that
EJ check ir title claim is for a community debt Y°“ ‘"d "°t 'e?°" as p"°"‘y °‘?""s y ,
cl Debts to pension or proiii-shanng plans, and other similar debts
is the claim subject to offset? d other specify Consumer Debt
d No
n Yes
Raw"quS Financia| Services Last 4 digits of account number § __Z_ Z § j $ 8, 1 92.84
Nonpriority Creditor’s Name
When was the debt incurred?
PO Box 2020
Number Street
A ofth da o fi ,the la`mis:Check llth t i,
LaGrange KY 40031 s ° “°’ “ ‘° ° ' a a a""’
city slate ziP code l] contingent
El unliquidated
Who incurred the debt? Check one. g Disputed
q Debtor1 only l
L_.l Debtor 2 only Type of NONPRlCRlTY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At mast one of the debtors and another cl Obligations arising out cfa separation agreementh divorce that
El Check if this claim is for a community debt m you d'd not re‘_’°n as p"°my C'?'ms _ _
Debts to pension or profit-sharing plans, and other similar debts
is the claim soviet w offset? iii onei. specify Consumer Debt
m No
Cl Yes
| l 2 2 q 2 $ 288.02§

Receivables Management Systems (Patient First)

 

 

 

Nonpriority Creditors Name

PO Box 73810

Number Street

North Chesteriie|d , VA 23235
City State ZlP Code

Who incurred the debt? Check one.

q Debtor 1 only

C] Debtor2 only

Cl Debtor1 and Debtor 2 only

CI At least one of the debtors and another

n Check if this claim is for a community debt
is the claim subject to offset?

q No
n Yes

Official Form 106E/F

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
El unliquidated
n Disputed

Type of NONPRiORlTY unsecured claim:

n Student loans

n Obligations arising out of a separation agreementh divorce that
you did not report as priority claims

0 Debts to pension or proiit-sharing plans, and other similar debts

U other specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims

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Debtor1 Michelle Hend&sme 19-10499 DOC 1

First Name Middie Name Last Name

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¥our NCNPRiOR|TY Unsecured claims - Continuation` Page

 

 

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Last 4 digits of account number _~_3_"" 6 3

 

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

 

 

 

 

Quest Diagnostics ___ __ 59.75
Nonpriority Creditor's Name
Whe d b i ?
PO Box 740880 n was the e t ncurred
Number Street . _
Cincinnati OH 45274 As of the date you file, the claim is. Check all that apply.
City state zlP code CI Contingent
EJ unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
U Debtor 2 only Type of NONPRiORlTY unsecured claim:
g Debtor1 and Debtor2 only m Student hans
At mast one °fthe debtors and another n Obligations arising out of a separation agreement or divorce that
EJ check it this claim le for a community debt n y°“ "'° "°‘ 'e‘_’°“ as p"°"“' °‘?‘ms _ _
Debts to pension or profit-shanng plans, and other similar debts
le the claim subject to arisen d owen Specify Consumer Debt
51 ne
a Ves
Quest Diagnostics Last 4 digits of account number __ ____ ___ _ $ 120.21
Nonpriority Creditor`s Name '
When was the debt incurred?
PO Box 740880
Number Street
. . . A fteda file,th i is:C iltht i.
Cincinnati OH 45274 s ° h t° y°" ° °'° m heck a a appy
city state zlP code El contingent
EJ unliquidated
Who incurred the debt? Check one. 13 Disputed
q Debtor1 only
cl Debtor 2 only Type of NONPRiORlTY unsecured claim:
g Debtor1 and Debtor 2 only n Student hans
At least one °f me debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you md not mem as p"°my c":a'ms y _
m Debts to pension or proiit-shanng plans, and other similar debts
is the claim subject to offset? q owen Specify Consumer Debt
a No
n Yes
_ 6 q 5 $ 84.60€
Quest Diagnostics Last4 digits of account number _ __ ___ _ f
Nonpriority Creditors Name
When was the debt incurred?
PO Box 740880
Number Street
. . . As tthedate tile,th l ': h ilthat .
Cincinnati OH 45274 ° y°" ° °'° m 's C e°k a amy
City state ziP code E| contingent
E| unliquidated
Who incurred the debt? Check one. n Disputed

m Debtor1 only

Ci Debtofz only

n Debtor1 and Debtor 2 only

L:l At least one of the debtors and another

n Check if this claim is for a community debt
is the claim subject to offset?

g No
n Yes

Type of NONPRiORlTY unsecured claim:

cl Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

q othef. specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims

 

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Michelle Hender&a$€ 19-10499 Doc 1

FirA Name Middle Name Last Name

Debtor 1

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Your NCNPRIGRlTY unsecured Claims - Continuation Page

 

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Ref|ex Credit Card L”“ ‘"9'*’ °' °°°°“"‘ ““'“b" - “ $ 639.75,§
Nonpriority Creditor's Name '
he as the bt l r
Po Box 3220 “' "‘” °'° "°“ """
Number Street . _
Buffa|o NY 14240 As of the date you file, the claim ls. Check all that apply.
city state zlP code U contingent
n Unliquidated
Who incurred the debt? Check one. L'] Disputed
q Debtor1 only
0 Debtor 2 only Type of NoNPRloRlTY unsecured claim:
n Debtor1 and Debtor 2 only 0 Student loans
n A‘ was one °f the debtors and another n Obligations arising out of a separation agreement or divorce that
n Check it this claim is for a community debt you md not re'_’°n as p"°my ck?'ms , _
m Debts to pension or protit-sharlng plans, and other similar debts
ls the claim subject to offset? d owen Specify Consumer Debt
w No
n Yes
RMS Last 4 digits of account number 'Z j __/_,)?_é., $ 81 .42
Nonpriority Creditors Name w `
hen was the debt incurred?
PO Box 20543
Number Street
. Asotth date o f'le,thecia'mis:Chck ilthta i.
l_ehtgh valley PA 18002 ° y " ' ' e a a °"’
city State zlP Code Ei contingent
Ci unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
Cl Debtor 2 only Type of NONPRiORlTY unsecured claim:
n Debtor1 and Debtor 2 only n Student mens
m At least one of the debtors and another 0 Obligations arising out of a separation agreement or divorce that
n Check it this claim is for a community debt n you md not report as p"°"ty Cl?'ms . _
Debts to pension or prorit-shanng plans, and other similar debts
ls the claim subie¢t to offset? d other. specify Consumer Debt
q No
n Yes {
` l QQOZ $ 71.89§
x Robyn James M_D' Last 4 digits of account number __ ___ ___ ____\
Nonpriority Creditor‘s Name
When was the debt incurred?
PO Box 864046
Number Street
Asofthedate o file,th cl' i:Check iltht .
orlando FL 32886 ’ " ° °"“ ’ a a “""""
City state zlP code U Contingent

Who incurred the debt? Check one.

m Debtor 1 only

n Debtor 2 only

cl Debtor1 and Debtor 2 only

a At least one of the debtors and another

U Check if this claim is for a community debt
is the claim subject to offset?

q No
cl Yes

Ochial Form 106E/F

 

El unliquidated
L`.J Disputed

Type of NONPRiORlTY unsecured claim:

n Student loans

a Obligations arising out of a separation agreement or divorce that
you did riot report as priority claims

cl Debts to pension or profit-sharing plans, and other similar debts

5 other. specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims

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Michelle Hend£gzee 19-10499 DOC 1 Fi|ecl 01/14/19(:35§’"§|9°§54 of 91

(ifkllowrl)
First Name Middie Name Last Name

m¥our NQNPRlCRlTY Unsecured Claims - Continuation Page

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Last 4 digits of account number §§ M_D $ 1,500_0() y

Debtor 1

 

 

 

 

 

 

 

Snap Finance

 

 

 

Nonpriority Creditor's Name M
Whe the d l red?

PO Box 26561 " “'°° ° "°‘"

Number Street . . _

Sa't Lake City, UT 84126 As of the date you file, the claim is. Check all that apply.

City State zlP Co(b a Contingent
El unliquidated

Who incurred the debt? Check one. n Disputed

13 Debtor1 only

n Debtor 2 only Type of NONPRiORlTY unsecured Claim:

El Debtor1 and Debtor 2 only m Student loans

m At least °"e °f me debtors and another n Obligations arising out of a separation agreement or divorce that

you did not report as priority claims

Cl Check if this claim is for a community debt _ _ , _
n Debts to pension or profit-shaan plans, and other similar debts

 

 

 

 

 

 

 

 

is the claim subject to offset? d Other_ specify Consumer Debt

w No

a Yes

Suburban Credit (Dr Verma) Lastl» dlglw Of ic¢>°i|l'lf number _ § ____ ___ $ 60.00

Nonpriority Creditofs Name "
When was the debt incurred?

PO BOX 3040

Number Street

. A f flle, : Check ll l .

A|exandna VA 22310 s o the date you the claim is a that appy

City state zlP code Cl Contingent
El unliquidated

Who incurred the debt? Check one. n Disputed

q Debtor1 only

U Debtor 2 only Type of NONPRiORlTY unsecured claim:

Cl Debtor1 and Debtor2 only n student loans

a At least one °f the debt°'s and another m Obligations arising out of a separation agreement or divorce that

you did not report as priority claims

El check ir this claim is for a commun' debt
ny a Debts to pension or proht-sharing plans, and other similar debts

 

 

 

 

 

is the claim subject to offset? q Ome,_ Specify Consumer Debt
m No
m Yes
{ | _ _ Z $ 114.65
: TD Bank Last 4 digits of account number ____ _Q_ jj l
' Nonpriority Creditors Name ;
When was the debt incurred?
70 Gray Road
Number street
thdte ti, laii:Ch litht .
Falmouth ME 04105 Asof e a you le thec m s ecka a apply
Cify State ZlP Code cl Contingent
EI unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
El sector 2 only Type or NoNPRloerY unsecured claim:
Cl Debtor1 and Debtor2 only n Student loans

m At least one °f the debtors and another cl Obligations arising out of a separation agreement or divorce that

you did not report as priority claims
a Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? a other_ Specify Consumer Debt

q No
m Yes

El check if this claim is ror a community debt

Official Form 106E/F Schedule ElF: Creditors Who Have Unsecured Claims page __ of

 

 

 

Debtor1 Michelle l-lende§a$e 19-10499 Doci

Flist Name Middle Name Last Name

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Your NQNPRlCRlTY Unsecured claims - Continuation Page

 

 

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Last 4 digits of account number __@___17_£2 _/_

 

 

 

 

 

 

 

 

 

 

Ofiicial Form 106EIF

 

 

 

 

TD Bank 3 283.50'
Nonprioth Creditors Name `
When was the debt incurred?
70 Gray Road
Number Street
f l , l i ‘ : ll h .
Fa|mouth ME 04105 Aso the date you tie theca mls Checka t at apply
City state zlP code El Contingent
El unliquidated
Who incurred the debt? Check one. [_'_] Disputed
a Debtor1 only
Cl Debtor 2 only Type of NONPRiORlTY unsecured claim:
El Debtor1 and Debtorzonly a Studenu°ans
n A‘ best °"e °f the debt°'s and a“°mer n Obligations arising out of a separation agreement or divorce that
l'.'.l check ir this claim le rol- e community debt y°“ °“’ "°‘ 'e‘_’°“ as p"°"‘y °”,‘“'“s _ ,
cl Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? w other_ specify Consumer Debt
g No
n Yes
TD Bank Last4 digits of account number _Q_é § __c__/` $ 367.11 t
Nonprioth Creditors Name wh vt
en was the de incurred?
70 Gray Road
Number Street
As of the date o fie, the claim is: Ch ck ll that a l .
Falmouih lle 04105 y “ ' e a ""y
city State zlP code cl Contingent
CI unliquidated
Who incurred the debt? Check one. g Disputed
q Debtor1 only
i.°.l Debtor 2 only Type of NoNPRloRlTY unsecured claim:
cl Debtor1 and Debtor 2 only n Student loans
cl At least °"e °f the debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt n you did not report as p"°my °I_a'ms _ 4
Debts to pension or pront-sharlng plans, and other similar debts
ls the claim suble¢=tw offsef? d other. specify Consumer Debt
q No
n Yes
TD Bank Last 4 digits of account number __ :Z ___" "'°“,~
Nonpriority Creditors Name
When was the debt incurred?
70 Gray Road
Number Street
As of the date o f'ie, the ciai ‘ : Check ll that .
Felmouth lle 04105 y " ' ""* a a"""
city State ZlP Code cl Contingent

Who incurred the debt? Check one.

a Debtor1 only

n Debtor 2 only

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

n Check if this claim is for a community debt
is the claim subject to offset?

m No
m Yes

El unliquidated
n Disputed

Type of NONPRiORlTY unsecured claim:

n Student loans

cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debts to pension or proht-sharing plans, and other similar debts

il other. specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims

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Michelle Hende£§a$e 19-10499 Doc 1

l-'lrst Name Middle Name Last Name

Filed 01/14/1ceasegrants(,.,';'y§,n,oic 91

Debtor 1

 

 

m Your NoNPR|°R|TY Unsecured Claims - Continuation Page

 

 

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Last 4 digits of account number z g jj

 

 

 

 

 

 

 

 

 

 

Official Form 106E/F

 

 

 

 

 

TD Bank $ 843.62/
Nonpriority Creditors Name "
Whe ti
70 Gray Road n was the deb ncurred?
Number Street . . _
F al m auth ME 04105 As of the date you file, the claim ls. Check all that apply.
city state zlP code |Zl contingent
[] unliquidated
Who incurred the debt? Check one. n Dispmed
q Debtor1 only
El oeotoiz only Type of NONPRiORlTY unsecured claim:
g Debtor1 and Debtor 2 only cl Studem loans
A‘ least one °f the debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not report as monty cl?'ms _ _
n Debts to pension or proht-shanng plans, and other similar debts
is the claim subject to offset? 91 other Specify Consumer Debt
d No
cl Yes
The Bank of Missouri Last4 digits of account number ____ § __é_?__ r2 $ 386.00‘§
Nonpriority Creditors Name ~
When was the debt incurred?
216 W 2nd Street
Number Street
. As of the date o f`le, the claim is: Check ll that l .
Dixon mo y " ' a appy
city State Z|P Code cl Contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
Cl Debtor 2 only Type of NONPRiORlTY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At ‘eaSt one of me debtors and another n Obligations arising out of a separation agreement or divorce that
cl Check if this claim is for a community debt you d'd not report as p"°my ck_a'ms _ _
n Debts to pension or proht-shanng plans, and other similar debts
is the claim subject to offset? m Omer_ Specify Consumer Debt
w No
a Yes
. 0 51 $ 703.67:
Transworld System (Continental Finance) "“t 4 d'gi“ °f a°°°""t """'b°" - --
Nonpriority Creditors Name
. . . . . When was the debt incurred?
500 Vlrglnla Drive Sulte 514
Number Street As of the date ou file the claim is' Check all that a l
Ft Weshington PA 19034 ’ ' ' """
city State ZlP Code El Contingent

Who incurred the debt? Check one.

m Debtor1 only

E| Debtor2 only

cl Debtor1 and Debtor 2 only

a At least one of the debtors and another

m Check if this claim is for a community debt
is the claim subject to offset?

m No
m Yes

Cl unliquidated
L'.l Disputed

Type of NONPRiORlTY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Cl Debts to pension or proht-sharing plans, and other similar debts

q othet. specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims

page ____ of

 

Debtor1 Michelle Hende£éa§e19-10499 Doci

 

First Name Mlddie Name Last Name

Your NoNPRlQRITY Unsecured Claims - Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

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§iwl:¢hlm' i?

Last 4 digits of account number Z§ § 'z

 

 

 

 

 

Transworld Systems (Friendship Hosp) $ 398.24 ;'
Nonpriority Creditors Name f
. ?
507 Prudent|a| Rd. When was the debt Incurred
Number S"°°' Ae cf th dar file in lai l - check ll in t
Horsham PA 19044 ° °’°" ' °° "’ “' a a aPP'y-
City State ZlP Code m Contingent
EJ unliquidated
Who incurred the debt? Check one. n Disputed
a Debtor1 only
El center 2 only Type of NoNPRloRlTY unsecured claim:
g Debtor1 and Debtor 2 only m Student loans
At least one of the debtors and another cl Obligations arising out of a separation agreement or divorce that
El Check if this claim is for a community debt you d'd n°‘ report as p"°my c'_a'ms _ _
n Debts to pension or profit-shaan plans, and other similar debts
le tile claim subject to offset? d owen Specify Consumer Debt
mr No
Cl Yes
Trident Asset Management LLC "“t“' ‘"9'” °'“°°°""' "““"’°' _0 !Z§ $--_1_1i99§

 

 

 

Nonpriority Creditors Name

5755 N. Point Pkwy Suite 12

Number Street

A|pharaetta GA 30022
City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

cl Debtor 2 only

a Debtor1 and Debtor 2 only

cl At least one of the debtors and another

n Check if this claim is for a community debt
is the claim subject to offset?

q No
n Yes

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
Ei unliquidated
m Disputed

Type of NONPRiORlTY unsecured claim:

E] Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or prolit-shan'ng plans, and other similar debts

El ottlei. specify Consumer Debt

 

 

TRS Recovery lnc.

 

 

 

Nonpriority Credith Name

PO Box 60022

Number Street

City of industry CA 91716
city state zlP code

Who incurred the debt? Check one.

q Debtor1 only

C| Debtor 2 only

El Debtor1 and cecth 2 only

Cl At least one of the debtors and another

E] Check if this claim is for a community debt
is the claim subject to offset?

q No
n Yes

official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

~ ' 206.93§
Last 4 digits of account number ~._:?_Q j l $_"`_"__§

When was the debt incurred?

As of the date you file, the claim is: Check ali that apply.

a Contingent
El unliquidated
n Disputed

Type cf NONPRiORlTY unsecured claim:

l:l Student loans

cl Obligations arising out of a separation agreementh divorce that
you did not report as priority claims

L_..l Debts to pension or pmm-sharing plans, and other similar debts

q otner_ specify Consumer Debt

page _ of _

 

 

wm Michelle HendelQél§€19-1O499 D001

 

Fust Name Middie Name Last Name

Flled 01/14/1%“€§;@9€@, 8)of 91

 

Your NCNPRIORlTY Unsecured claims - Continuation Page

 

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United Collection Bureau, lnc.

 

 

 

Nonpriority creditors Name

5620 Southwyck Blvd, Suite 206 OH 43614
Number Street

Toledo OH 43614
City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

Cl Debtor 2 only

E\ Debtor1 and Debtor 2 only

n At least one of the debtors and another

m Check if this claim is for a community debt
is the claim subject to offset?

d No
0 Yes

 

Last 4 digits of account number j ___2__'1 _[__ s 2,000_00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
|J unliquidated
n Disputed

Type of NONPRiORlTY unsecured claim:

El student loans

E] Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts

d other. specify Consumer Debt

 

 

 

 

United Consumers

 

 

 

Nonpriority Creditor`s Name

14205 Telegraph Rd, Suite 2

Number Street

Woodbridge, VA 22192
City State ZlP Code

Who incurred the debt? Check one.

a Debtor1 only

n Debtor 2 only

Cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

D Check if this claim is for a community debt
ls the claim subject to oftset?

g No
cl Yes

Last 4 digits of account number __/z[£ ____/_ _[__ $ 208.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
E] unliquidated
Cl Disputed

Type of NONPRiORlTY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

l:l Debts to pension or proEt-sharing plans, and other similar debts

q other specify Consumer Debt

 

 

United Consumers

 

 

 

Nonpriority Creditors Name

14205 Teleg@ph Rd, Suite 2

Number Street

Woodbn`dge, VA 22192
City State ZlP Code

Who incurred the debt? Check one.

U Debtor 1 only

0 Debtor 2 only

C| Debtor1 and Debtor2 only

Cl At least one of the debtors and another

n Check if this claim is for a community debt
ls the claim subject to offset?

m No
Cl Yes

Official Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims

$ 154.73j

Last 4 digits of account number Q __,Z_Zé

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
Cl unliquidated
EJ Disputed

Type of NONPRiORlTY unsecured claim:

n Student loans

cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or profit-sharing plans, and other similar debts

5 olner. specify Consumer Debt

page ____ of

Debtor1 Michelle Hende€s`s&r:ie 19-10499 DOC 1

First Name Middie Name Last Name

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Your NONPRIOR|TY Unsecured Claims - continuation Page

 

 

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Last 4 digits of account number _9_2// § §

 

 

 

 

 

 

 

 

 

 

 

Official Form 106EIF

 

United Consumers ___ 3 352.95 :
Nonpriority creditors Name `°`_"'
. Whe i ?
14205 Teiegraph Rd, suite 2 " ""“ "‘° °°"* "°""°“
Number Street As ofti\e date o file the claim ls' Check llth t
Woodbridge, vA 22192 y " ' ' a a ap'°'y~
city State ZlP Code a Contingent
D unliquidated
Who incurred the debt? Check one. g Disputed
q Debtor1 only
[;l Debtor2 only Type of NONPRlOR|TY unsecured claim:
g Debtor1 and Debtor2 only n Student hans
At least °"e °f me debtors and another cl Obligations arising out of a separation agreement or divorce that
cl Check if this claim is for a community debt you md not regan as monty cl?'ms _ _
n Debts to pension or met-shanng plans, and other similar debts
le the claim subject to crrcct? E[ owen Spe¢ify Consumer Debt
iii Nc
n Yes
United Consumers Last4 digits oi account number ___Q ___5 § z $ 120.00§
Nonpriority Creditors Name
. When was the debt incurred?
14205 Telegraph Rd, Suite 2
Number Street
. A ofthedate oufil,the ia' is:Ch k lltht l.
woodbridge, vA 22192 s ’ ° ° "“ e° a a appy
City State Z'P Code n Contingent
Unliquidated
El
Who incurred the debt? Check one. a Disputed
RZ Debtor1 only
l:) Debtor 2 only Type of NONPRlOR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Student loans
At 'east °"e °f me debtors and another n Obligations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt you d'd not report as pn°my °u_a'ms _ _
n Debts to pension or protit-sharing plans, and other similar debts
ls the claim subject to offset? q other specify Consumer Debt
g No
cl Yes
$ 437.77 .

United Consumers

 

 

 

Nonpriority Creditor's Name

14205 Telegraph Rd, Suite 2

Number Street

Woodbridge, VA 22192
city state zlP code

Who incurred the debt? Check one.

q Debtor1 only

n Debtor 2 only

cl Debtor1 and Debtor 2 onty

a At least one of the debtors and another

Ci check lt this claim is for a community debt
is the claim subject to offset?

mr No
cl Yes

Last 4 digits of account number __Z 2 § £__

When was the debt incurred?

As of the date you file, the claim is: Check all mat apply.

\:l Contingent
El unliquidated
\:\ Disputed

Type of NONPRlOR|TY unsecured claim:

n Student loans

n Obligations arising out of a separation agreementh divorce that
you did not report as priority claims

n Debts to pension or prolit-sharing plans, and other similar debts

il other specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims

page _ of ___

 

 

Debtor1 Michelle Hend§ecelo-lo¢loo Docl Flleol 01/14/1963$§>"§9&60 of91

(iflmown)
Fifsi Name Middie Name Last Name

 

your NCNPRlQR|TY Unsecured Claims - continuation Fage

 

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united Consumers Last 4 digits of account number _/_ f __ _Q_ $ 1 19_90 ;
Nonpriority Creditofs Name _
14205 Telegraph Rd, Suite 2 ‘”“°" ‘”°‘ "‘° "°"‘ '"°“"°‘"
W;:;dbrid;;et VA 221 92 As of the date you file, the claim is: Check all that apply.
city state ziP code U Contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
a Debtor1 only
U Debtor 2 only Type of NONPRlOR|TY unsecured claim:

Cl Debtor 1 and Debtor 2 only

n Student loans
n At least one of the debtors and another

cl Obligations arising out of a separation agreementh divorce that
you did not report as priority claims

El Check ii this claim is for a community debt , , ` _
n Debts to pension or protit-shanng plans, and other similar debts

 

 

 

 

 

 

 

 

l$ the Clalm Subje¢t to offset? d Omer_ Specify Consumer Debt
g No
a Yes
United Consumers Last* digits °f account number _/ f __ _@_ $___§lleQ_Og
Nonpriority Creditors Name ?
. Whe w s the debt '

14205 Telegraph Rd, Suite 2 " a '"°""°d
Number Street

. A f h , h l i i : .
Woodbndge, VA 22192 s o t e date you file t e c a m s Check all that apply
City State ZlP Code n Contingent

El Unliquidated

Who incurred the debt? Check one. cl Disputed
q Debtor1 only
El Debtor 2 only Type of NONPRiORlTY unsecured claim:

a Debtor 1 and Debtor 2 only

cl Student loans
n At least one of the debtors and another

n obligations arising out of a separation agreement or divorce that
you did not report as priority claims

a Debts to pension or pro&t-sharing plans, and other similar debts

ls the claim subject to offset? q Other_ Specify Consumer Debt

q No
n Yes

' 188.00?
_-l Last 4 digits of account number _{_ 2 jj $

n Check it this claim is for a community debt

 

 

United Consumers

 

 

 

Nonpriority Creditors Name
. When as the d bt incurred?

14205 Teiegraph Rd, Suite 2 ‘” °
Number Street

. Aofthd f‘l,th lii:h ltn l.
Woodbndge, VA 22192 s e ateyou re ecams Ceckal atappy
C-,ty state ziP code L'.] Contingent

Cl unliquidated

Who incurred the debt? Check one. m Disputed
a Debtor1 only
Cl Debtor 2 only Type of NONPRlOR|TY unsecured claim:

n Debtor1 and Debtor 2 only

Cl Student loans
a At least one of the debtors and another

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or prolit-shaiing plans, and other similar debts
is the claim subiect w offset? E other specify Consumer Debt

w No
n Yes

Ei check if this claim is for a community debt

official Form 106E/F Schedule EIF: Creditors Who Have Unsecured Claims page ___ of

 

 

Debtor1 Michelle Hender@oi$e 19-10499 DOC 1

Flrst Name Middle Name Last Name

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¥our NONPRlCR|TY Unsecured claims - Continuation Page

 

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United Consumers

 

 

 

Nonpriority Creditors Name

14205 Telegraph Rd, Suite 2

Number Street

Woodbridge, VA 22192
City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

E] Debtor 2 only

C.l Debtor1 and Debtor 2 only

n At least one of the debtors and another

Cl Check if this claim is for a community debt
ls the claim subject to offset?

g No
a Yes

 

Last 4 digits of account number l §§ § $ 607_00 §

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

n Contingent
Cl unliquidated
Cl Disputed

Type of NONPRlOR|TY unsecured claim:

n Student loans

cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

cl Debis to pension or protit-sharing plans, and other similar debts

q other specify Consumer Debt

 

 

 

 

United Consumers

 

 

 

Nonpriority Creditors Name

14205 Telegraph Rd, Suite 2

Number Street

Woodbridge, VA 22192
city state ZP code

Who incurred the debt? Check one.

a Debtor1 only

Cl Debtor2 oniy

n Debtor1 and Debtor 2 only

n At least one of the debtors and another

U Check if this claim is for a community debt
ls the claim subject to offset?

q No
cl Yes

Last4 digits of account number ___ ____ ____/_ _‘>2/ $ 720.00
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

cl Contingent
Ci unriquidated
n Disputed

Type of NONFRlOR|TY unsecured claim:

n Student loans

0 Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or prolit-sharing plans, and other similar debts
q other speciry Consumer Debt

 

 

United Consumers

 

 

 

Nonpriority Creditors Name

14205 Telegraph Rd, Suite 2

Number Street

Woodbridge, VA 22192
City State ZlP Code

Who incurred the debt? Check one.

a Debtor1 onry

n Debtor 2 only

El Debtor1 and Debtor 2 only

L`.l Ai least one of the debtors and another

El check ir this claim is for a community debt
is the claim subject to offset?

g No
n Yes

Oflicia| Form 106E/F

Schedule ElF: Creditors Who Have Unsecured Claims page __ of

$ 213.00`

Last 4 digits of account number 432 ___Z :._Z)

When was the debt incurred?

As of the date you file, the claim is: Chedt all that apply.

n Contingent
cl Unliquidated
L_.l Disputed

Type of NONPRlOR|TY unsecured claim:

n Student loans

cl Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or prclit~sharing plans, and other similar debts

U other speciry Consu mer Debt

 

 

Debtor1 Michelle Hende@&$e 19-10499 DOC 1

 

First Name Middie Name Last Name

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m Your NONPRiCRITY Unsecured Claims - Continuation Fage

 

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Last 4 digits of account number __, ___/__ ;5__ §

 

 

 

 

 

 

 

 

 

 

 

 

 

Who incurred the debt? Check one.

q Debtor 1 only

a Debtor 2 only

El Debtor 1 and Debtor 2 only

Cl At least one of the debtors and another

El check if this claim is for a community debt

ls the claim subject to offset?

d No
Cl Yes

Official Form 106E/F

United Consumers 5 352.00 f
Nonpriority Credilor’s Name '
. lN d bti
14205 Telegraph Rd, suite 2 "°" ‘"°’ "‘° ° "°""°‘*?
Number Street
Woodbridge, VA 22192 As of the date you file, the claim ls. Check all that apply.
city state zlP code C] contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
U Debtor 2 only Type of NONPRlOR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Studem loans
At 'eaSt °ne °f the debt°'s and another n Obligations arising out of a separation agreement or divorce that
CI check it this claim is for a community debt 0 y°“ °'° "°t 'e‘_)°" as °"°'"Y °‘?'ms _ _
Debts to pension or protit-shanng plans, and other similar debts
ls the claim subject to offset? d other Specify Consumer Debt
d No
n Yes
. / 3 /
United Consumers Last4 digits of account number ____ ____ ___ _’Z $ 8,536.00:
Nonpriority Creditors Name '
. When was the debt incurred?
14205 Telegraph Rd, Sulte 2
Number street
. Asof hedatie o fl the la'm': h lltht l.
Woodbridge, vA 22192 ‘ " “ ‘°' ° ' " ° °°“a a a°°’
city State zlP Code Cl contingent
L'.l unliquidated
Who incurred the debt? Check one. Lj Disputed
q Debtor1 only
Cl Debtor2 only Type of NONPRlOR|TY unsecured claim:
g Debtor1 and Debtor 2 only m student loans
At least °"e of me debtors and another L:l Obligations arising out of a separation agreement or divorce that
m Check if this claim is for a community debt you d'd not report as p"°my °k_!'ms , _
a Debts to pension or protit-shanng plans, and other similar debts
ls the claim subject to offset? q other_ specify Consumer Debt
m No
a Yes
t__i . &'32,9 t__iz;z_@:
; Va"ey pet lnc_ Last4 digits of account number ___ _ _ ___ ,_
Nonpriority Creditors Name
. When was the debt incurred?
127 Bntner Avenue
Number Street
.. Asofthedate o f`le,th laimis: hck lltht l.
williamsport MD 21795 y “ ' °° ° e a a appy
City state zlP code Cl Contingent

Ei unliquidated
El Disputed

Type of NONPRiORlTY unsecured claim:

n Student loans

n Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

n Debts to pension or prolit-sharing plans, and other similar debts

q other_ specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims page ___ of __

 

 

Debtm Michelle Hende€daiee 19-10499 Doci

 

Fiist Name Middle Name Last Name

 

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w Your NCNFRlCRITY Unsecured Claims - Contlnuation Page

 

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Last4 digits of account number j__/ jj

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditor‘s Name

 

Number Street

 

City State ZlP Code

Who incurred the debt? Check one.

a Debtor 1 only

a Debtor 2 only

C| Debtor1 and Debtor 2 only

n At least one of the debtors and another

El check it this claim is for a community debt
ls the claim subject to offset?

q No
cl Yes

Official Form 106E./F

 

Last 4 digits of account number _

Verizon $ 135.94 t
Nonpriority Creditor`s Name
When was the bt inc rred?
Po Box15124 “° "
Number street . . _
A|bany NY 12212 As of the date you file, the claim is. Check all that apply.
city state zlP code E] Contingent
C| unliquidated
Who incurred the debt? Check one, n Disputed
a Debtor1 only
El center 2 oniy Type of NoNPRloRlTY unsecured claim:
cl Debtor1 and Debtor2 only m Student loans
n At least one °f the debw's and a"°me' n Obligations arising out of a separation agreement or divorce that
El Check if this claim is for a community debt you d'd not re'_)°n as pnomy d_a'ms , .
cl Debts to pension or prodt-shanng plans, and other similar debts
ls the claim subject to onset? d other Specify Consumer Debt
g No
n Yes
Last4 digits of account number ____ ___ ____ ___ $
Nonpriority Creditoi"s Name
When was the debt incurred?
N ber street
um As of the date you file, the claim is: Check all that apply.
city state ziP code L__| contingent
E] unliquidated
Who incurred the debt? Check one. a Disputed
q Debtor1 only
El oeinci z oniy Type of NoNPRloRlTv unsecured claim:
EI Debtor1 and Debtor2 oniy a Student loans
n At least °"e °f the debtors and an°ther 0 Obligations arising out of a separation agreement or divorce that
El Check if this claim is for a community debt you d'd not report as p"°my cl,a'ms 4 _
n Debts to pension or proiit-sharing plans, and other similar debts
ls the claim subject w offsef? q ottiei. specify Consumer Debt
m No
n Yes
L_i s

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Cl Contingent
lIl unliquidated
n Disputed

Type of NONPRlOR|TY unsecured claim:

Cl Student loans

cl Obligabons arising out of a sepaiaiion agreement or divorce that
you did not report as priority claims

cl Debts to pension or prohi-sharing plans, and other similar debts

5 otner. specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims page _ of___

 

Debtor1 Michelle Hender@@§e 194 0499 DOC 1

 

Fust Name Middle Name Last Name

Part 4: Add the Amounts for Each Type of Unsecured Claim

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y 6. Total the amounts of certaln types of unsecured cla|ms. Thls lnformatlon ls for statlstlcal reportlng purposes on|y. 28 U.S.C. § 159.

Add the amounts for each type of unsecured claim.

Total claims 6a. Domestic support obligations

l from Parn

government

Sc. Claims for death or personal injury while you were

intoxicated

6d. Other. Add all other priority unsecured claims.

Write that amount here.

6e. Total. Add lines 6a through 6d.

Total cbims 6f. Student loans

: from Part 2

claims

6h. Debts to pension or profit-sharing plans, and other

similar debts

6i. Other. Add all other nonpriority unsecured claims.

Write that amount here.

6]. Tota|. Add lines 6f through 6i.

Official Form 106E/F

6b. Taxes and certain other debts you owe the

69. Obligations arising out of a separation agreement
or divorce that you did not report as priority

6b.

6c.

6f.

6h.

6i.

6j.

 

 

 

 

 

 

Total claim
s 0.00
s 48,303.66
s 0.00
+ $ 0.00
$ 48,303.66
Total claim
$ 0.00
s 0.00
$ 0.00
+ $ 54,053.77
5 54,053.77

 

 

Schedule ElF: Creditors Who Have Unsecured Claims

page ___ of ___

 

 

 

Case19-10499 DOC1 Filed 01/14/19 Page 65 Of 91

Fill in this information to identify your case;

Debtor Michelle Henderson

Fust Name Middle Name

 

Debtor 2
(Spouse lf filing) First Name Middle Name

 

united states Bankruptcy court for inez District of Maryland

Case number . . .
(irkn°wn) l L_.l Check if this is an

amended filing

 

 

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do you have any executory contracts or unexpired leases?
a No. Check this box and tile this form with the court with your other schedules You have nothing else to report on this fonn.
n Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

,2.1'

Name

 

 

Number Street

 

City State ZlP Code

2.2,_

 

Name

 

Number Street

 

v Ciiv_ sr . ,, ,Sfa.fs , /,,,Z!P,,C¢>d¢
2.3

 

Name

 

Number Street

 

C'iv i, ,i __ Swie Z‘P Ci?iie t
§2.4`

Name

 

 

Number Street

 

, C'i,v ,, ,, i, S,iai,‘?i Z'PC°°€ i_ ,, , ,, ,, _, ., ,
2.5

 

y Name

 

Number Street

 

City State ZlP Code

Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of _____

 

 

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Fill in this information to identify your case;

Debtor1 Michelle Henderson
First Name Middie Name

Debtor 2
(Spouse, if filing) Fist Name Middle Name

 

United States Bankruptcy Court for the: District of Maryland

Case number
(if known)

 

 

Cl cheek ifmie is an
amended filing

Ochia| Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct infonnation. lf more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

i 1. Do you have any codebtors? (|f you are filing a joint case, do not list either spouse as a codebtor.)

q No
E.l Yes
2. Within the last 8 years, have you lived in a community property state or territory? (Communily property states and territories include
Arizona, Ca|ifomia, |daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Vihsconsin.)
w No. Go to line 3.
a Yes. Did your spouse, fenner spouse, or legal equivalent live with you at the time?
n No

0 Yes. ln which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, fenner spouse, or legal equivalent

 

Number Street

 

city staie zlP code

3. ln Column 1. list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

Schedule D (Official Form 1060), Schedule E/F (Official Form 106EIF), or Schedule G (Official Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

 

Check all schedules that app|y:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1
U Schedule D, line______
Name
n Schedule ElF, line
Number S"°°‘ Cl Schedule G, line
city state zlP code
3.2
El schedule D, line
Name _
Cl Schedule E/F, line
Numb°' Si'°ei El Schedule G, line
,, Ciiv v , , , , , ,Siaie_ , _l Z'PC,°de
3.3
U Schedule D, line___*_
Name
Ci schedule E/F, line
Number Si"’ei n Schedule G, line
,C,iiv … ,l l , ,Siaie, … ,ZiPC°de
Official Form 106H Schedule H: Your Codebtors

page 1 of _

 

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Fill in this information to identify your case;

Debtor1 Michelle Henderson

Fl|st Name M'\ddle Name

 

Debtor 2
(Spouse. if t’lling) Fusi Name Middle Name

 

United States Bankruptcy Coult for the: District Of Maryland

Case number Check if this is:

(|f known)
E] An amended filing
Cl A supplement showing postpetition chapter 13
income as of the following date:

thcial Form 106| m

Schedule l: Your lncome 12/15

Be as complete and accurate as posslb|e. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct infonnation. lf you are married and not filing jolntly, and your spouse is living with you, include information about your spouse.
lf you are separated and your spouse is not filing with you, do not include information about your spouse. lf more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

 

 

 

Part 1: Describe Employment

 

1. Fill in your employment
infonnation. Debwr 1 Debtor 2 or non-filing spouse

 

lf you have more than one job,

 

attach a separate page with
information about additional Emp'°y'“em status m Empl°yed El Employed
employers n Not employed n Not employed
lnclude part-time, seasonal, or
self-em lo ed work.

p y occupation Payro|l Manager
Occupation may include student
or homemaker, if it applies.

Employer’s name Children's Defense Fund

 

Employer’s address 25 E St NW 1
Number Street Number Street

 

 

 

Washington DC 20001
City State ZlP Code City State ZlP Code

 

How long employed there? 7 mos_

mGive details About Monthly lncome

Estimate monthly income as of the date you file this fonn. lf you have nothing to report for any |ine, write $0 in the space. lnclude your non-filing
spouse unless you are separated.

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. lf you need more space, attach a separate sheet to this fonn.

 

 

 

For Debtor 1 For Debtor 2 or
non-filing spouse
2. List monthly gross wages, salary, and commissions (before all payroll
deductions). |f not paid monthly, calculate what the monthly wage would be. 2. $ 4,461_54 $
3. Estimate and list monthly overtime pay. 3_ + $ 0.00 + $
‘ 4. Ca|culate gross income. Add line 2 + line 3. 4. $ 4,461-54 $

 

 

 

 

 

Ofncial Form 106| Schedule l: Your income page 1

 

 

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Debtor1 Michelle Henderson

 

 

 

 

Case number (irknowrr)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

First Name Middie Name Last Name
For Debtor 1 For Debtor 2 or
non-filing §gquse
Copy line 4 here ............................................................................................... ') 4. $ 41461»54 $
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $ 1,070.77 $
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $
5c. Voluntary contributions for retirement plans 5c. $ G.OO $
5d. Required repayments of retirement fund loans sd. $ O-OO $
5e. insurance 5e. $ 0-00 $
5f. Domestic support obligations 5f. $ 0-00 $
59. Union dues 59. $ 0'00 $
5h. Other deductions. Specify: 5h. +$ 0.00 + $
s. Add the payroll deductions Add lines 5a + 5b + se + 5d + se +5f + 59 + 5h. 6. $ 1,070.77 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 3,390-70 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0 00 $
monthly net income. 8a. `
8h. interest and dividends 8b_ $ 0.00 $
Bc. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
lnclude alimony, spousal support, child support, maintenance, divorce $ 0 00 $
settlement and property settlement 8c. `
8d. Unemployment compensation 8d. $ 0-00 $
8e. Social Security 8e. $ 0_00 $
8f_ Other government assistance that you regularly receive
lnclude cash assistance and the value (if known) of any non-cash assistance
that you reoeive, such as food stamps (benef`lts under the Supplemental
Nutritlon Assistance Program) or housing subsidies
Specify: 8f. $ 0.00 $
89. Pension or retirement income Sg. s 0.00 $
8h. Other monthly income. Specify: 8h. + $ 0_00 + $
' 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8a + 8f +89 + 8h. 9. $ 0.00 $
10. Calculate monthly income. Add line 7 + line 9. 7 __
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $--3439_0`_0 $ l_ |$ 3’390`70

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.
lnclude contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies

13. Do you expect an increase or decrease within the year after you file this form?

w No.

11_+ $ 0.00

12_ g 3,390.70

Combined
monthly income

 

 

L_.l Yes. Explain:

 

 

 

Official Form 106| Schedule l: ¥our income

page 2

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Fill in this information to identify your case;

Mi h n ers n . . .
Debtor1 H§Na:!|e He d ° Mmmme Checklfthls ls:

 

Debtor2 l;\ An amended filing

(Spouse, if filing) Filst Name Middie Name
|:l A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: District of Maryland expenses as of the following date:

<(=,g;g°g;;“w m

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this fonn. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

Part 1: Describe ¥our Househoid

1. ls this a joint case?

w No. Go to line 2.
l:.l Yes. Does Debtor 2 live in a separate household?

n No
n Yes. Debtor 2 must tile Ofiicial Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

2. Do you have dependents? a No

 

 

 

 

 

 

Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and d Yes. Fill out this information for Debtor1 °' Debtor 2 399 Wi’¢h Y°u?
Debtor 2. each dependent .......................... n
Do not state the dependents daughter 18 g N°
names. Yes
n No
§On 4
w Yes
n No
n Yes
cl No
n Yes
Cl No
l;\ Yes
3. Do your expenses include w N°
expenses of people other than n
yourself and your dependents? Yes

m Estimate Your ongoing Monthiy Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. ll‘ this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

 

 

such assistance and have included it on Schedule l: Your Income (foicial Form 106|.) Y°W expenses

4. The rental or home ownership expenses for your residence. include flrst mortgage payments and $ 17000_00
any rent for the ground or lot. 4. _----_-----
if not included in line 4:
4a. Real estate taxes 4a1 $ 0.00
4b. Property, homeownefs, or renter’s insurance 4b. $ 0.00
4c Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4d. Homeowner's association or condominium dues 4d, $ 0.00

Official Form 106J Schedule J: Your Expenses page 1

 

 

Debtor 1 Case number amount
Flrst Name M`¢idle Name Last Name
5. Additional mortgage payments for your residence, such as horne equity loans 5.
6. Utilities:
ea. Electn`city, heat, natural gas sat
6h. Water, sewer, garbage collection 6h.
Sc. Telephcne, cell phone, |ntemet. satellite, and cable services 6c
6d, Other. Specify: 6d.

7. Food and housekeeping supplies 7.

8. Childcare and children’s education costs a.

9. C|othing, iaundry, and dry cleaning 9.
10. Personal care products and services 10.
11. Medicai and dental expenses 11.
12. Transportation. include gas. maintenance bus or train fare.

Do not include car payments. 12.
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13.
14. Charitable contributions and religious donations 14.
15. lnsurance.
Do not include insurance deducted from your pay or inciuded in lines 4 or 20.
15a. Life insurance 15a.
15b. Health insurance 15b.
15c. Vehicle insurance 15¢.
15d. Other insurance. Specify: 15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16.
17. installment or lease payments:
17a. Car payments for Vehicle 1 17a.
17b. Car payments for Vehicle 2 17b.
17c. Other. Specify: 17o.
17a. Other. Specify: 17d.
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, your Income (Official Form 106|). 18.
19. Other payments you make to support others who do not live with you.
Specify: 19.
20. other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your Income.
20a. Mortgages on other property 20a.
zob. Real estate taxes 20b.
20c. Propelty, homeowners or renter’s insurance 20c.
20d. Maintenance, repair, and upkeep expenses 20d.
20e. Homeownel’s association or condominium dues 20e.

folclal Form 106J

Case 19-10499 Doc 1

Michelle Henderson

 

 

 

 

 

 

 

Schedule J: Your Expenses

 

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Your expenses

 

$ 0.00

0.00
0.00
$____Z_Q.Q§_Q_
0.00
700.00
50.00
75.00
0.00
0.00

€£

€669$¢£€6$

$ 160.00

100.00
0.00

150.00
0.00
400.00
0.00

MQM$

0.00
0.00
0.00
0.00

M€H$$

 

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Debtor1 Michelle Henderson
Fllst Name Middle Name Last Name

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if anyl from Official Form 106J-2

22a. Add line 22a and 22b. The result is your monthly expenses

23. Calculate your monthly net income.

23a Copy line 12 (your combined monthly income) from Schedule l.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your montth net income.

Case number (irknown)

21.

22a.

22b.

22(:.

238.

23b.

230.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modiiication to the terms of your moltgage?

m No.

cl YeS» Explain here:

Official Form 106J Schedule J: Your Expenses

 

 

+$ 0.00

IH__H…_MW.M

$ 3,335.00

s

$ 3,335.00
$ 3,390.70

__$ 3,335.00
$ 55.70

 

 

 

page 3

 

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Fill in this information to identify your case;

Debtor1 FNM/;r"///ZC //{7 Mif;)n{§/?H/C//<SOQNM

Debtor 2
(Spouse, ii filing) Flrst Name Middle Name Last Name

United States Bankruptcy Court for the: D[ $1§;‘ § f/ §£/FW[£`/)y(

Case number
(lr known)

 

 

C] Check if this is an

 

 

 

amended filing

Ofi“lcial Form 106Dec
Declaration About an individual Debtor’s Schedules one

 

 

lf two married people are filing together, both are equally responsible for supplying correct infonnation.

You must file this form whenever you file bankruptcy schedules or amended schedules Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- »»w

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

n No
w Yes. Name of person Theresa Haywood .Attach Bankruptcy Petition Preparefs Notl‘ce, Declaration, and
Signature (Cfticial Form 119).

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

   

 

Signature f Debtor 1 Signature of Debtor 2

care Mcj care

MMIDD/YYY¥ MMIDD/YYYY

Oflicial Form 1060ec Declaration About an individual Debtor's Schedules

 

Case 19-10499

Fill in this information to identify your case:

Debtor1 Michelle Henderson

 

Fil$l Name Middle Name

Debtor 2

 

(Spouse, if l"lling) First Name Middie Name

United States Bankruptcy Court for the: District of Maryland

Case number

 

(if known)

 

 

Official Form 107

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Checkif this is an
' amended filing

  

Statement of Financiai Affairs for individuals Filing for Bankruptcy 12r15

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
infonnation. if more space is needed, attach a separate sheet to this fonn. On the top of any additional pages, write your name and case

number (if known). Answer every question.

Give Detaiis About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

Cl Manied
w Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

MNo

E] Yes. List ali of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1:

 

Number Street

 

 

Cily State ZlP Code

 

Number Street

 

 

City State ZlP Code

 

 

 

 

 

 

Dates Debtor1 Debtor 2: Dates Debtor 2
lived there lived there
n Same as Debtor1 n Same as Debtor 1
From Fr°m
Number Street
To To
City State ZlP Code
cl Same as Debtor 1 m Same as Debtor 1
From From
Number Street
To To
City State ZlP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property slate or territory? (Community property
states and territories include Arizona, Caiifornia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington. and Wisconsin.)

mNo

U Yes. Make sure you tiii out Schedule H: Your Codebtors (Official Form 106H).

Part 2: Explain the Sources of Your income

 

Official Form 107

 

Siatement of Financial Affairs for individuals Filing for Bankruptcy page 1

 

Case 19-10499 DOC 1

Michelle Henderson
First Name Middle Name

Debtor 1

LsslName

Case number <rrr¢mm)

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4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?

Fill in the total amount of income you received from all jobs and all businesses including part-time activities
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

cl No
ii ves. Fill in the details

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,21]]1 )
YYYV

For the calendar year before that:

(January 1 to December 31 , 2016 )
YYYY

Sources of income
Check all that apply.

g Wages, commissions
bonuses tips

m Operating a business

w Wages. commissionsl
bonuses tips

n Operating a business

m Wages, commissions
bonuses tips

n Operating a business

Gross income

(before deductions and
exclusions)

$ 0.00

$ 100,000.00

$ 80,000.00

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are aiimony; child support; Social Security,
unemployment and other public benefit payments; pensions; rental income; interest; dividends; money collected from |awsuits; royalties; and
gambling and lottery winnings. if you are liiing a joint case and you have income that you received together, list it only once under Debtor 1.

Sources of income
Check all that apply.

n Wages. commissions
bonuses tips

n Operating a business

n Wages, commissions
bonuses tips

n Operating a business

n Wages, commissions
bonuses tips

m Operatinga business

List each source and the gross income from each source separateiy. Do not include income that you listed in line 4.

fine

El Yes. Fill in the details

 

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

Sources of income
Describe below.

 

 

(January 1 to December 31 ,2917
YYYv

 

For the calendar year before that:

 

(January 1 to December 31 ,2017 )
YYYv

 

Official Form 107

 

Statement of Financial Affalrs for individuals Filing for Bankruptcy

 

Gross income

(before deductions and

exclusions)

Gross income from
each source

(before deductions and

exclusions)

page 2

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Debtor1 Michelle Henderson Case number (i,k,,m,
Flst Name Middlc Name Last Name

 

 

List certain Payments You llade Before You Fiied for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
n No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts Consumer debts are defined in 11 U.S.C. § 101 (8) as
“incurred by an individual primarily for a personai, family, or household purpose.”
During the 90 days before you med for bankruptcy, did you pay any creditor a total of $6,225* or more?

CI No. Go to line 7.

L_.l Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations such as
child support and alimony. Aiso, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment

m Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts
During the 90 days before you hied for bankruptcy, did you pay any creditor a total of $600 or more?

M No. caroline 7.

Cl Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations such as child support and
alimony. Aiso, do not include payments to an attorney for this bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dates of Total amount paid Amount you still owe Was this payment for...
payment
$ $
Creditol*s Name n Moi'lgage
cl Car
Number street cl Credit card
m Loan repayment
m Suppiiers or vendors
city slate zlP code n Other
$ $ L_.l Mortgage
Creditors Name
n Car
Number street a Credit card
m Loan repayment
n Suppllers or vendors
city stare zlP code n Other
$ $ cl Mortgage
Creditor's Name
m Car
Number Street cl Credit card
n Loan repayment
cl Suppliers or vendors
city slate ziP code n Other
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

 

 

 

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Debtor1 Michelle Henderson

Case number (irrmwn)
Fist Name Middie Name Last Name

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an ofticer, director, person in contro|, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U`S.C. § 101. include payments for domestic support obligations
such as child support and alimony.

MNo

a Yes. List ali payments to an insider.

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe
_ $ $
insiders Name
Number Street
City State ZlP Code
$ $

 

insiders Name

 

Number Street

 

 

City State ZlP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

include payments on debts guaranteed or cosigned by an insider.

MNo

n Yes. List all payments that benehted an insider.

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
payment paid owe include creditors name
insiders Name $ $
Number Street
city State ziP code
$ $

 

insiders Name

 

Number Street

 

 

City State ZlP Code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

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Debtor 1 Michelle Henderson
Fisl Name uncle Name my Name

Case number army

 

m identify i.egai Actions, Repossessions, and Foreciosures

' 9, Vllithin 1 year before you filed for bankruptcy, were you a party in any iawsuit, court action, or administrative proceeding?
List ali such matters including personal injury cases small claims actions divorces collection suits paternity actions support or custody modifications
and contract disputes.

MNo

El Yes. l=lll in the details

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case titie__________________ own Name a Pendlng
a On appeal
Number street m Concluded
Case number
city stale zlP code
Case title____________________ com Name n Pendlng
' cl On appeal
Number street n Concluded
Case number
'cily state zlP code

10. Vllithln 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed gamished, attached seized, or levied?
Check ali that apply and fill in the details below.

M No. Gotoline11.
n Yes. Fill in the information below.

 

 

 

 

 

 

 

 

 

 

Describe tile property Date Value of the property
. $
Cradltors Name
Number Street Explain what happened
n Property was repossessed
cl Property was foreclosed
L_.i Property was gamished
city state zlP code l:l Property was attached seized, or ievied.
Describe the property Date Value of the property
$
Creditors Name
Number steel
Explain what happened
l:\ Property was repossessed
n Property was foreclosed
City State ZlP Code n Property was garnlshed.
n Property was attached seized, or levied
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

 

 

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Debtor1 Michelle Henderson Case number miami

 

 

F'lst Name Mlddle Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

mNo

E] Yes. Fill in the delails.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor'e Name
$
Number street
City State ZlP Code Last 4 digits of account number: XXXX-__ ___ ____ ___

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

q No
n Yes

m List Certain Gifts and Contributlons

 

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per pelson?

MNo

E] Yes. Fill in the details for each gift

Gifls with a total value of more than $600 Describe the gifts Dates you gave Value
per person file gifts

 

Person to Whom You Gave the Gift

 

 

Number Street

 

city state zlP code

Person‘s relationship to you

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per PefS°" , , , , v t , the gifts

 

Person to Whom You Gave the Gift

 

 

Number Street

 

city state zlP code

Person‘s relationship to you

 

Official Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy page 6

 

 

 

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Debtor 1 Michelle Henderson Case number (immri)
Fiier Name uncle Name Last mine

 

 

~ 14.Within 2 years before you iiied for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

ZlNo

n Yes, Fill in the details for each gift or contribution.

 

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
_ $
Charlty's Name
$

 

 

Number Street

 

City State ZlP Code

m List Certain Losses

15. Wlthin 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other

disaster, or gambling?

g No

El Yes. Fill in the details
Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred loss lost

include the amount that insurance has paid List pending insurance
claims on line 33 of Schedule A/B: Propeth

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys. bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

m No
El Yes. Fill in the details

 

 

 

Descrlption and vaiue of any property transferred Date payment or Amount of payment
transfer was
PersonWhoWas Paid , . , l , _ , … . … _ made
Number street § $
$

 

City State ZlP Code

 

Email or website address

 

 

Person Who Made the Payment. if Not You

Ofncial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 7

 

 

 

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Debtor1 Michelle Henderson Case number (,.,,m,,)

 

 

 

 

 

 

 

First Name Middle Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made payment
Person Who Was Paid
$
Number street
$

 

 

City State ZlP Code

 

Email or website address

 

Person Who Made the Payment, if Not ¥ou

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MNo

Ei Yes. Fill in the details.

 

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid
Number Street $
$
city state zlP code

 

 

18. Within 2 years before you filed for bankruptcy, did you seli, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement
w No
C] Yes. Fill in the details

 

 

 

 

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made
Person Who Received Transfer
Number Street
City state zlP code
Person‘s relationship to you
Person Who Received Transfer

 

 

Number Street

 

 

City State ZlP Code

Person‘s relationship to you

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Debtor 1 Michelle Henderson Case number (if/inom)
Flrsl Name Midd|e Name l.ast Name

 

 

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-pmtech'on devices.)

ENo

El Yes. Fill in the details

Description and value of the property transferred Date transfer
was made

Name of trust

 

 

Llstcnhlnflnandallceomu,lnsuumonb,$ahbopocnloxeo,and$tomgeunlts

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, so|d, moved, or transferred?
include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

w No
l`.`l ves. Fill in the details
Last 4 digits of account number Type of account or Date account was Last balance before

instniment closed, so|d, moved, closing ortransfer
or transferred

 

Name of Financial institution
§ xxxx-__ L`.l checking 5

 

1 Number Street n savings
cl Money market

n Brokerage
city stare zchoee n other

 

 

XXXX- Cl checking $

 

Name of Financial institution
a Savings

 

Number street n Money market
n Brokerage
a Other

 

 

City Shte ZIF Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
q No
E] ves. Fill in the details

 

 

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
v have it?
z Name of Financial lnsrimiirm Name m Yes
z Number Street Number Street
city sure ziP code
city sine zlP code
Ochial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

 

 

 

 

 

 

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Debtor 1 Michelle Henderson Case number whom
Fis1 Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
El Yes. Flll ln the details

 

 

Who else has or had access to it? Describe the contents Do you still
g have it?
cl No
Name of Storage Facility Name , y n Yes
Number Street Number Street

 

 

citysrm zlP code

 

city state zlP code

m ldontilyl\roportyYoulloldorControlfor$omoonoElse

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.
d No
E] Yes. Fill in the details

;,
s
§
§
§
i

where is the property? Describe the property Value

 

armer Name $

 

 

Number Street

 

 

 

 

city sum zlP code
§ city state zlP code

m Give Dotllls About Envlrenmontal information

For the purpose of Part 10, the following definitions apply:

a Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or materia|.

l Site means any iocation, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

l Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous materiai, poiiutant, contaminant, or similar tenn.

Report all notices, reieases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notihed you that you may be liable or potentially liable under or in violation of an environmental iaw?

mNo

Ci Yes. Fill in the details

 

 

 

Govemmentai unit Environmenlai iaw, if youy know it w y y Date of notice
Name of site Govemmental unit
Number Street Number Street
city state zlP cede

 

 

city sure zlP code

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Debtor1 Michelle Henderson Case number (,.,,m,,,,
FirSt Name Middie Name Last Name

 

25. Have you notified any governmental unit of any release of hazardous materiai?

mbta

C.'l Yes. Fill in the deraile.

 

 

 

 

Govemmental unit Environmentai law, if you know it Date of notice
§ Name °' sm Govemmentai unit
§ Number street Number street
: city stare zlP code

 

City State ZlP Code

26.Have you been a party in any judicial or administrative proceeding under any environmental law? include settlements and orders.

mNo

El Yes. Fill in the details

 

 

 

 

 

 

c°“'t °r agency Nature ofthe case :::‘9 °f the
Case title
Court Name cl Fending
n On appeal
"""'°°' s" °°‘ El concluded
Case number city sma zlp code

leobotnlchbout¥ourBuslnosoorconnoctlonstloAnyluslnm

 

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
n A member of a limited liability company (LLC) or limited liability partnership (LLP)
L:l A partner in a partnership
a An officer, director, or managing executive of a corporation

L'J An owner of at least 5% of the voting or equity securities of a corporation

d No. None of the above applies. Go to Part 12.
a Yes. Check all that apply above and fill in the details below for each business
Describe the nature of the business Employer identification number
y Do not include Social Security number or lTlN.

 

 

 

 

 

 

Buslness Name
3 ElN_______-___________________________
Number street v ,e ,, ,,
Name of accountant or bookkeeper Dates business existed
y From To
city stare zll= code _ '
Describe the nature of the business Employer identification number

Do not include Social Security number or lTlN.

 

Business Name

 

 

ElN:____-___________
Number Street
Name of accountant or bookkeeper Datea business existed
From To

 

 

city state zlP code

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Debtor 1 Fm NM L/;M'£néé /LA;QQ:’la/:§d N Case number (ifkmm)

Describe the nature of the business Em‘"°y°' M°“tm°°d°" ““"'b°'
l , g g 7 , Do not include Social Security number or l'i1N.

 

Business Name

 

 

 

 

EiN:_____-____________________
N"mb°' s '" a Name of accountant or bookkeeper bates business existed

From To
clty state zlP code

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties

MNo

E] ves. Fill in the details below.

Date issued

 

Name union/rm

 

Number Street

 

 

City State ZlP Code

m»- --

l have read the answers on this Statement of Financial Affairs and any attachments and l declare under penalty of perjury that the
answers are true and correct l understand that making a false statement, concealing property. or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

emaer

Date l 0 2916 Date

Did you a ch dditional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

w No
n Ves

 

Signature of Debtor 2

 

 

 

\

§ Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy fonns?
n No

a Yes. Name of person Theresa Haywood . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (foicial Form 119).

 

 

 

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United States Bankruptcy Court

, / District of Maryland
In Re: /§//[,g/q£ //C !'i[@/?[/'€// 565/1 Case Number:
Debtor(s) Chapter:

VERIFICATION OF CREDITOR MATRIX

The above named Debtors hereby verify that the attached list of creditors is true and correct to the best oftheir
knowledge

1l c wi , wtc/b
Date: Signature of Debtor(s); /:;

 

 

 

 

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Aargon Collection (Six Fiags)
8668 Spring Mountain Rd.
Las Vegas, NV 89117

American Medicai Collection
PO Box 1235
Elmsford, NY 10523

Associated Credit Services
PO Box 5171
Westborough, MA 01581

Balanced Healthcare Receivables (Greater Washington Emergency)
PO Box 9577
Manchester, NH 03108

Caine & Weiner (Progressive ins.)
PO Box 5010
Wood|and Hilis, CA 91365

Ce|tic Bank Corp
268 South State Street Suite 300
Sa|t Lake City, UT 84111

Center for Ora| & Maxi||ofacia| Surgery
3233 Superior Lane, Suite B-23
Bowie, MD 20715

Certegy Check Services
PO Box 30046
Tampa, FL 33630

Commonwea|th One Federal Credit Union
4875 Elsenhower Avenue
A|exandria, VA 22304

Comptrol|er of MD
110 Carro|l Street
Annapolis, MD 21411

Credit Collection Services
725 Canton Street
Norwood, MA 02062

DC Treasurer
PO Box 2014
Washington, DC 20013

 

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Diagnostic lmaging, LLC
PO Box 17439
Baltimore, MD 21297

Discount Carpet
8038 Femham Lane
Forestvi||e, MD 20747

District of Columbia Government
PO Box 37038
Washington, DC 20013

Educationa| Systems Federal CU
7500 Greenway Ctr Drive
Greenbe|t, MD 20770

Fingerhut
6250 Ridgewood Road
Saint C|oud, MN 56303

First Access
PO Box 5220
Sioux Fa||s, SD 57117

First Premier Bank
3820 N Louise Avenue
Sioux Falls, SD 57017

F|T Credit Card
PO Box 6812
Caro| Stream, iL 60197

Fort Washington Hospital
PO Box 64808
Baltimore, MD 21264

Fort Washington Medicai Center
11711 Livingston Road Fort
Washington, MD 20744

G| Associates of MD
3510 Washington Rd, Suite 201
Waldorf, MD 20602

Govemment of DC
PO Box 37135
Washington, DC 20013

 

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Greater Washington Emergency
PO Box 500
Marsha|l, VA 20116

GWU Medicai Faculty Associates
PO Box 48458
Oak Park, Ml 48237

Hefuna Menta| Health & Wellness
7474 Greenway Center Drive, Suite 700A
Greenbelt, MD 20770

Home Paramount Pest Controi
PO Box 3666
Camarillo, CA 93011

internal Revenue Service
PO Box 7346
Philade|phia, PA 19107

Kay Apa rtment Communities
8720 Georgia Avenue, Suite 410
Si|ver Spring, MD 20910

Koh|s
PO Box 3115
Milwaukee, Wi 53201

Lake Arbor Denta| Assoc
10270 Lake Arbor Way
Mitchellvi|ie, MD 20721

LCA (Labcorp)
PO Box 2240
Buriington, NC 27216

Mid America Bank and Trust
PO Box 400

Dixon MO 65459-

MRS (Capital One Bank)
1930 Olney Avenue

Cherry Hill, NJ 08003

Nationwide Credit, inc. (American Homeshield)
PO Box 26314
Lehigh Va|ley, PA 18002

 

 

 

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Neurologica| Medicine
7500 Hanover Parkway Suite 201
Greenbelt, MD 20770

Northiand Group (Target)
PO Box 129
Thorofare, NJ 08086

Peroutka Miller
8028 Ritchie Highway Suite 300
Pasadena, MD 21122

PG Community Federal CU
15201 Hali Road
Bowie, MD 20721

PG County iViD Automated Enforcement
PO Box 13286
Baltimore, MD 21203

Portfolio Recovery Associates
120 Corporate Blvd, Suite 100
Norfo|k, VA 23502

Professionai Account Management
P0 Box 37038
Washington, DC 20013

Professional Account Management
PO Box 785
Milwaukee, Wl 53201

Progressive Leasing
256 West Data Dr.
Draper, UT 84020

PG County
PO Box 17416
Baltimore, MD 21297

Revenue Authority Prince George County
1300 Mercanti|e Lane, Suite 108
Largo, MD 20774

Quest Diagnostics
PO Box 740880
Cincinnati, OH 45274

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Rawlings Financial Services
PO Box 2020
LaGrange, KY 40031

Receivables Management Systems
PO Box 73810
North Chesterfield, VA 23235

Refiex Credit Card
PO Box 3220
Buffalo, NY 14240

RMS
PO Box 20543
Lehigh, Va||ey PA 18002

Robyn iames M.D.
PO Box 864046
Or|ando, F| 32886

Snap Finance
PO Box 26561
Salt Lake City, UT 84126

Suburban Credit (Dr. Verma)
P0 Box 3040
A|exandria, VA 22310

TD Bank
70 Gray Road
Falmouth, ME 04105

The Bank of Missouri
216 W 2nd Street
Dixon, MO 65459

Transworid System (Continental Finance)
500 Virginia Drive Suite 514
Ft Washington, PA 19034

Transwor|d Systems (Friendship Hosp)
507 Prudential Rd.
Horsham, PA 19044

Trident Asset Management LLC
5755 N. Point Pkwy Suite 12
A|pharetta, GA 30022

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TRS Recovery lnc.
PO Box 60022
City of lndustry, CA 91716

United Collection Bureau, lnc.
5620 Southwyck Blvd, Suite 206
Toledo, OH 43614

United Consumers
14205 Telegraph Rd, Suite 2
Woodbridge, VA 22192

Valiey Pet inc.
127 Britner Avenue
Wil|iamsport, MD 21795

Verizon
PO Box 15124
A|bany, NY 12212

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